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 5
     Counsel for Plaintiffs Ruby Mitchell and Edward J. Kelly and the Classes
 6

 7                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 8                                     SAN JOSE DIVISION

 9     RUBY MITCHELL and EDWARD J.                            Case No. 5:18-cv-05623-BLF
       KELLY, individually, and on behalf of a class of
10     similarly situated persons,                            DECLARATION OF SABITA J. SONEJI IN
                                                              SUPPORT OF PLAINTIFFS’ MOTION FOR
11
                                                              PRELIMINARY APPROVAL OF CLASS
12                                      Plaintiff,            ACTION SETTLEMENT AND FOR
                vs.                                           CERTIFICATION OF SETTLEMENT
13                                                            CLASS
       INTERO REAL ESTATE SERVICES,
14
                                       Defendant.             Date: Request Submitted
15                                                            Time: Request Submitted
                                                              Place: Courtroom 3, 5th Floor
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                                                              Judge: Honorable Beth Labson Freeman
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                                        MOTION FOR PRELIMINARY APPROVAL
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 1          Pursuant to Civil Local Rule 7-5, I, Sabita J. Soneji, declare as follows:

 2          1.      I am a partner at the law firm of Tycko & Zavareei LLP, which is co-counsel for Ruby

 3 Mitchell and Edward J. Kelly, Plaintiffs in the above-captioned action (“Plaintiffs”).

 4          2.      I am a member in good standing of the bars of the State of California and of

 5 Washington, DC, as well admitted to practice in the United States District Courts for the Northern

 6 District of California, Central District of California, and District of Columbia.

 7          3.      The facts set forth in this declaration are based in part upon my personal knowledge

 8 and in part upon the representations of my co-counsel at Tycko & Zavareei LLP, Reese LLP, and

 9 Bailey & Glasser LLP (collectively, “Counsel”), and I could competently testify to them if called upon

10 to do so.

11                                               Case Background

12          4.      Before filing the original Complaint in this case, Counsel investigated the potential

13 claims against Defendant Intero Real Estate Services (“Intero” and, together with Plaintiffs, the

14 “Parties”). Counsel interviewed potential plaintiffs and gathered information about Intero’s unlawful

15 calling practices. Counsel expended resources researching and developing the legal claims at issue.

16          5.      Former Class Representative Ronald Chinitz filed his Class Action Complaint on

17 September 13, 2018. See ECF No. 1. Intero filed its Answer on November 7, 2018. See ECF No. 9.

18          6.      After Intero answered the original Complaint, the Parties commenced discovery.

19 Counsel served written discovery on Intero and third parties including Mojo Dialing Solutions, LLC

20 (“Mojo”), deposed numerous Intero real estate agents, and deposed Intero under Federal Rule of Civil

21 Procedure 30(b)(6), and Intero served written discovery requests upon Mr. Chinitz and deposed him.

22          7.      In early 2020, Mr. Chinitz filed his Motion for Class Certification. See ECF No. 70. On

23 July 22, 2020, the Court granted the Motion for Class Certification, certified the National DNC Class

24 and the Internal DNC Class, and rejected Intero’s challenges to Plaintiffs’ expert, Anya Verkhovskaya.

25 See ECF No. 126. The Court subsequently denied Intero’s Motion for Reconsideration. See ECF No.

26 138. Likewise, the Ninth Circuit denied Intero’s Rule 23(f) petition. See ECF No. 143. Notice was
27 distributed to potential Class Members in December 2020. See ECF Nos. 151, 153.

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 1           8.      On January 21, 2021, Plaintiffs moved for partial summary judgment on the issue of

 2 vicarious liability and on the Internal DNC Class injunctive relief claim. See ECF No. 157. The same

 3 day, Intero moved for summary judgment. See ECF No. 159. On April 12, 2021, the Court denied

 4 Intero’s Motion for Summary Judgment in its entirety, and granted Plaintiffs’ Motion for Partial

 5 Summary Judgment as to the issue of vicarious liability. See ECF No. 191.

 6           9.      On the eve of the summary judgment hearing, then-Class Representative Ronald

 7 Chinitz engaged in improper settlement negotiations with Intero. Accordingly, Counsel moved to

 8 substitute Mr. Chinitz with the current named Plaintiffs, Ruby Mitchell and Edward J. Kelly. See ECF

 9 No. 178. Over Intero’s objections, on May 4, 2021, the Court granted the motion to substitute and

10 appointed Ms. Mitchell and Mr. Kelly as the new Class Representatives. See ECF No. 210. The Court

11 also granted an earlier motion by Intero to amend its Answer to add two new affirmative defenses. Id.

12 The Court ordered the parties to propose a schedule for additional discovery and briefing as to the

13 new Class Representatives and Intero’s new affirmative defenses. See ECF No. 207. The Court

14 adopted Plaintiffs’ proposed schedule on May 6, 2021. See ECF No. 213.

15           10.     Pursuant to the new schedule, Intero filed a Motion to Dismiss the First Amended

16 Complaint on May 18, 2021. See ECF No. 217. The Court denied the motion as to Plaintiffs’ TCPA

17 claims. See ECF No. 221.

18           11.     Before and during the limited discovery period, the Parties conducted additional

19 discovery including written discovery requests by both Plaintiffs and Intero, and depositions by Intero

20 of both Plaintiffs. Plaintiffs also deposed a corporate representative of Intero pursuant to Rule 30(b)(6)

21 regarding the affirmative defenses that Intero added to its amended answer. This discovery, as well as

22 the prior discovery period and the Parties’ extensive briefing, ensured that Plaintiffs and Counsel were

23 well apprised of the salient legal and factual issues before reaching a decision to settle the Action.

24           12.     On July 26, 2021, Intero sought leave to file an additional motion for summary

25 judgment, which the Court granted on July 30, 2021. See ECF No. 236. On August 6, 2021, Intero

26 moved for summary judgment as to Plaintiffs’ individual claims, and the Parties fully briefed the
27 motion by August 31, 2021. On August 11, 2021, Plaintiffs moved for appointment as the class

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 1 representatives, and the Parties fully briefed the motion by September 1, 2021.

 2                                            Settlement Discussions

 3          13.     On April 1, 2021, the Court referred the Parties to Chief United States Magistrate

 4 Judge Joseph C. Spero for settlement discussions. See ECF No. 186.

 5          14.     On April 13, 2021, as a result of Intero’s professed limited ability to pay any judgment

 6 secured at trial, Chief Magistrate Judge Spero ordered Intero to produce to Plaintiffs, for settlement

 7 purposes only, audited profit and loss statements and balance sheets for the preceding three years,

 8 along with any applicable insurance policies. See ECF Nos. 192 & 193.

 9          15.     In advance of the settlement conference, Intero provided to Counsel an unaudited

10 income statement, a balance sheet, and unfiled tax returns for the preceding three years, all of which

11 provided information related to Intero’s ability to pay for a class-wide settlement. This information,

12 which Intero has warranted in the Settlement Agreement as being “true and accurate,” shows that

13 Intero would not even be able to afford a low eight-figure settlement. Based on that data, Counsel

14 prepared a settlement conference statement and on July 7, 2021, provided it to both Chief Magistrate

15 Judge Spero and counsel for Intero.

16          16.     On July 21, 2021, the Parties engaged in a Zoom settlement conference before Chief

17 Magistrate Judge Spero, which Plaintiffs Ruby Mitchell and Edward J. Kelly and representatives of

18 Intero, including CEO Brian Crane, attended. See ECF No. 232.

19          17.     The case did not settle, and so on September 9, 2021, the Parties took part in another

20 Zoom settlement conference before Chief Magistrate Judge Spero, which was attended by

21 representatives of Intero, including CEO Brian Crane. See ECF No. 261. While the case again did not

22 settle, by the end of the day, the parties had made major progress toward agreement on the terms of

23 the Settlement relief for the Settlement Class.

24          18.     Chief Magistrate Judge Spero scheduled an additional 2.5 hour settlement conference

25 on September 22, 2021, at which the Parties reached agreement in principle on the terms of a

26 settlement of the entire case. See ECF Nos. 265 & 267.
27          19.     During these various settlement conferences, the Parties did not discuss attorneys’ fees

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 1 and costs, or any potential Service Awards, until we had first agreed on material terms, including the

 2 definition of the Settlement Class, the Notice Plan, and the benefits to the Settlement Class. When

 3 attorneys’ fees, costs, and Service Awards were discussed, they were discussed only insofar as the

 4 Parties agreed to a cap on the amounts that Plaintiffs may request under these categories. Intero

 5 retained its right to object to these amounts, and any amount not awarded in attorneys’ fees, costs, or

 6 Service Awards will be distributed to the Settlement Class and in no event will those monies revert to

 7 Intero.

 8           20.    The Parties then negotiated the precise terms of the Settlement Agreement, which was

 9 executed on October 27, 2021, and is now before the Court. A true and correct copy of the fully

10 executed Settlement Agreement is attached to this declaration as Exhibit A.

11           21.    Other than the Settlement Agreement, there are no other agreements between

12 Plaintiffs and Intero.

13                                           The Settlement Administrator

14           22.    Before selecting a Settlement Administrator, Intero engaged in a multi-week process

15 of considering bids from five reputable administrators, and kept Counsel apprised of these efforts as

16 they were ongoing. Each of the administrators provided similar competing bids, and their notice plans

17 overlapped substantially.

18           23.    Counsel for Intero ultimately selected KCC Class Action Services LLC (“KCC”), a

19 leading class action administration firm in the United States, to serve as the Settlement Administrator.

20 Plaintiffs’ Counsel did not object to the selection of KCC because they are confident in KCC’s

21 experience and expertise in administrating class action settlements. Counsel is also confident that

22 KCC’s proposed notice and administration plan fully complies with due process, Rule 23(e), relevant

23 case law, and the Northern District of California’s Procedural Guidance for Class Action Settlements.

24           24.     Class Counsel routinely rely on a variety of reputable class action administrators,

25 including KCC. During the past two years, Class Counsel have engaged KCC on multiple occasions,

26 including in the matters of Krakauer v. Dish Network, LLC, No. 1:14-CV-333 (M.D.N.C.); Ciccarelli v.
27 Califia Farms, LLC, No. 7:19-cv-08785-CS (S.D.N.Y.); Shalikar v. Asahi Beer, USA, BC702360 (Cal.

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 1 Sup. Ct.); Worth v. CVS Pharmacy, Inc., No. 16-cv-0200498-SG (E.D.N.Y.); Carnell Smith and Lenox

 2 Magee v. Fifth Third Bank, No. 1:18-cv-00464 (S.D. Ohio); In Re GEICO General Insurance Company, No.

 3 4:19-cv-03768-HSG (N.D. Cal.); Lembeck v Arvest Central Mortgage Co., No. 3:20-cv-3277-VC (N.D.

 4 Cal.); Abante Rooter and Plumbing, Mark Hankins, et al. v Alarm.com Inc., No. 4:15-cv-06314-YGR (N.D.

 5 Cal.); Bekker v. Neuberger, No. 16-cv-6123 (S.D.N.Y.); Cullinane v. Uber Technologies, Inc., No. 1:14-cv-

 6 14750-DPW (D. Mass.); Henderson v. The Bank of New York Mellon Corp., No. 1:15-cv-10599-PBS (D.

 7 Mass.); Mey v. Got Warranty, Inc., et al., No. 5:15-cv-00101-JPB-JES (N.D. W. Va.); Mey v. Patriot Payment

 8 Group, No. 5:15-cv-00027-JPB-JES (N.D. W. Va.); Nistra v. Reliance Trust Company, No. 16-cv-4773

 9 (N.D. Ill.); Schultz v. Edward Jones, No. 16-cv-1346 (E.D. Mo.); and Swain and Fiorito on behalf of ISCO

10 ESOP v. Wilmington Trust, N.A., No. 17-071-RGA-MPT (D. De.). A number of these cases involve

11 settlements that were reached outside the two-year window, but for which administration has

12 continued for some time. While Counsel has sufficient information to be confident in KCC’s

13 qualifications, there is no ongoing relationship between KCC and Counsel as Counsel routinely solicit

14 bids from multiple settlement administrators, and often work with other administrators (e.g., Epiq and

15 Angeion) for each case where notice and/or claims administration is required. Moreover, none of the

16 Parties have a financial interest in KCC or otherwise have a relationship with KCC that could create

17 a conflict of interest.

18           25.     I have reviewed the proposed Notice Plan, which was drafted in conjunction with

19 Intero, and am confident that it is designed to reach as many Settlement Class Members as possible

20 and is the best notice practicable under the circumstances of this case. In light of the proposed notice

21 plan, Counsel believe that a claims rate of 10-20% is likely in this case.

22                                         Adequacy of Plaintiffs and Counsel

23           26.     Plaintiffs Mitchell and Kelly assisted Counsel in this case by reviewing the pleadings,

24 responding to interrogatories, searching for and producing documents, sitting for their depositions,

25 participating in and being available during settlement conferences, and reviewing the Settlement

26 Agreement.
27           27.     Neither Ms. Mitchell nor Mr. Kelly have any conflicts with other Settlement Class

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 1 Members. Both have in fact provided substantial assistance in prosecuting this case on behalf of absent

 2 class members.

 3           28.    This Court previously appointed Tycko & Zavareei LLP and Reese LLP as Class

 4 Counsel for the National DNC Class and the Internal DNC Class when it granted class certification.

 5 In doing so, the Court found that “[plaintiff’s] experienced class counsel have no conflict of interest

 6 with other class members and there is no basis to conclude that counsel will not vigorously represent

 7 the class.” ECF No. 126.

 8           29.    After obtaining class certification, Tycko & Zavareei LLP and Reese LLP have

 9 zealously represented, and will continue to zealously represent, the Settlement Class.

10           30.    Attached as Exhibit B is the firm resume of Tycko & Zavareei LLP.

11           31.    Attached as Exhibit C is the firm resume of Reese LLP.

12           32.    In August 2021, after the first Settlement Conference with Chief Magistrate Judge

13 Spero did not lead to a settlement, Brian Glasser and John Barrett of Bailey & Glasser LLP were

14 retained to assist with settlement negotiations and any potential trial in this case. Mr. Glasser and Mr.

15 Barret were trial counsel for the class of plaintiffs in Krakauer v. Dish Network, LLC, Case No. 1:14-

16 CV-333 (M.D.N.C.), and secured a jury verdict of over $61 million for violations of the TCPA’s do-

17 not-call provisions and successfully defended that verdict on appeal. They have brought their

18 experience to bear on this case, zealously representing the interests of the Settlement Class, and

19 substantially contributed to the ultimate resolution of this matter.

20           33.    Attached as Exhibit D is the firm resume of Bailey & Glasser LLP.

21           34.    As these resumes show, Counsel have significant experience in litigation, certification,

22 and settlement of class action lawsuits, including those involving the TCPA. This experience, along

23 with Counsel’s extensive history of litigating the instant case, provides Counsel with a nuanced

24 understanding of the legal and factual issues involved and informs our conclusion that this settlement

25 is an excellent recovery for the Class.

26                        Fairness, Reasonableness, and Adequacy of the Proposed Settlement

27           35.    On the basis of Counsel’s investigation into this case, and experience with and

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 1 knowledge of the law and procedure governing the claims of Plaintiffs and the Settlement Class, it is

 2 Counsel’s belief that the recovery provided by the Settlement Agreement—$350 to each participating

 3 Settlement Class Member and injunctive relief to ensure Intero’s compliance with the TCPA—is an

 4 excellent recovery that is in the best interests of the Class. The Settlement will provide monetary

 5 benefits in the form of cash awards to Settlement Class members who submit a timely and valid claim.

 6 Any funds remaining after distribution to the Settlement Class will be paid to a cy pres recipient jointly

 7 selected by the parties and approved by the Court..

 8           36.     Plaintiffs’ best case at trial would have been an award of damages and injunctive relief

 9 prohibiting further violations of the TCPA by Intero or its agents. While Plaintiffs and the Settlement

10 Class would have been entitled, if successful at trial, to statutory damages of up to $500 for each

11 unlawful call, or treble that amount if the violations were knowing or willful, such damages were far

12 from guaranteed. For one, the jury could have awarded far less than $500 (or even far less than $350)

13 for each unlawful call. Accordingly, in Counsel’s view, a cash payment of $350 for each Settlement

14 Class Member is an excellent result considering the risks inherent in proving their case at trial and

15 ultimately securing a jury award greater than the relief obtained through the Settlement. Additionally,

16 as to the injunctive relief sought—improvements to Intero’s TCPA compliance policies and practices

17 to prevent future unlawful calls—this has been secured through the Settlement.

18           37.     Plaintiffs face significant risks to their claims if this Settlement is not approved. Should

19 the case proceed in litigation, Plaintiffs could see their claims dismissed or narrowed by motions in

20 limine, at trial, or on a subsequent appeal. The jury could decline to credit Plaintiffs’ evidence, including

21 their expert evidence, and a failure of proof on any element—many of which have been hotly

22 contested throughout the litigation—could doom the claims in whole or in part.

23           38.     Further, the Parties would incur the expense and burden of continuing to prepare for

24 trial, finalizing all pretrial filings, and conducting the trial. Even if Plaintiffs were to succeed on the

25 merits at trial, any recovery would likely be delayed by appeals, and the litigation could take years to

26 resolve. Yet, as discussed above, there is no guarantee that lengthy pretrial preparation and trial would
27 lead to greater benefits for the Settlement Class.

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 1          39.     In this context, the Settlement is an outstanding recovery that provides substantial

 2 relief to the Settlement Class without further delay. And the relief obtained through the Settlement

 3 Agreement is in line with (and, frankly, better than) settlements reached in other cases involving

 4 violations of the TCPA. See, e.g., Johnson v. Moss Bros. Auto Grp., Inc., No. 19-cv-02456-FMO-SP, 2021

 5 WL 4556052, at *8 (C.D. Cal. June 25, 2021) (preliminarily approving TCPA class action settlement

 6 in which each class member would receive approximately $46, less fees and costs, regardless of the

 7 number of calls they received); Odom v. ECA Mktg., Inc., No. 20-cv-00851-JGB-SHK, 2021 WL

 8 4803488, at *3 (C.D. Cal. May 27, 2021) (preliminarily approving TCPA class action settlement in

 9 which each class member would receive approximately $35, regardless of the number of calls they

10 received); Larson v. Harman-Mgmt. Corp., No. 1:16-cv-00219-DAD-SKO, 2020 WL 3402406, at *6

11 (E.D. Cal. June 19, 2020) (finally approving TCPA class action settlement in which each class member

12 received $156.95, regardless of how many text messages they received); Ahmed v. HSBC BANK USA,

13 No. 15-cv-02057-FMO-SP, 2019 WL 13027266, at *4 (C.D. Cal. Dec. 30, 2019) (finally approving

14 TCPA class action settlement in which each class member received approximately $92.39, regardless

15 of how many calls they received).

16                                       Narrowing of the Settlement Class

17          40.     During the course of Settlement Negotiations, the Parties agreed to narrow the scope

18 of the National DNC Class—the only damages class in this case—to define the Settlement Class.

19 Specifically, the Settlement Class Definition excludes (1) any phone number that received only zero-

20 duration calls with the disposition code “Answering Machine” (which are the only zero-duration calls

21 in the Mojo records at issue); and any phone numbers where the removal of zero-duration calls means

22 the phone number did not receive 2 or more calls within a 12-month period; and (2) calls made by a

23 real estate salesperson at a time when Intero or Intero Referral Services was not the salesperson’s

24 responsible broker, as reflected in the records maintained by the California Department of Real Estate

25 (“DRE”).

26          41.     The Parties plan to file a stipulation and proposed order to exclude the individuals

27 associated with these excluded phone numbers from the Settlement Class, which will also include a

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 1 plan for providing Notice to those individuals excluded from the Settlement Class but who received

 2 Notice after the Court’s prior ruling on class certification.

 3                                            Attorneys’ Fees and Costs

 4           42.     Counsel’s current litigation costs are approximately $341,285.81, including expert fees

 5 of $146,888.02.

 6           43.     After subtracting these litigation costs (which will continue to increase through the

 7 settlement approval process) from the $2,775,000 cap on Attorneys’ Fees and Costs agreed to by the

 8 Parties, Counsel will be seeking an award of attorneys’ fees of approximately $2,433,714.19.

 9           44.     To date, and not counting future time and effort on settlement administration and

10 approval, Counsel’s total current lodestar is $3,735,914.60 based on the 5,083.2 total hours expended

11 to date at each firm’s customary hourly rates.

12           45.     The approximately $2,433,714.19 in attorneys’ fees that Counsel intends to seek thus

13 reflects a modest multiplier of approximately 0.65 or less on their current lodestar.

14                                              Proposed Case Schedule

15           46.     The Settlement Agreement contemplates that the Court will adopt the following case

16 schedule, subject to any modifications by the Court:

17                          Event                                               Deadline
18     Notice Deadline                                      30 Days after the Court enters the Preliminary
                                                            Approval Order
19     Fee and Incentive Motion Deadline                    25 Days after the Notice Deadline
20     Objection Deadline                                   60 Days after the Notice Deadline
       Opt-Out Deadline                                     60 Days after the Notice Deadline
21
       Claim Deadline                                       60 Days after the Notice Deadline
22     Final Approval Motion Deadline                       30 Days after the Objection and Opt-Out
                                                            Deadline
23
       Final Approval Hearing                               At least 125 Days after the Notice Deadline
24                                                          (i.e., at least 35 days after the Final Approval
                                                            Motion Deadline)
25
       Deadline for Intero to deposit $350.00 per           Upon Final Approval of the Settlement, and
26     Approved Claim into an interest-bearing              after receiving specific payment instructions
       escrow account maintained by the Settlement          and all required tax information from the
27     Administrator                                        Settlement Administrator and all information
                                                            needed to determine the identities of Claimants
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 1                         Event                                              Deadline
 2     Deadline for the Settlement Administrator to       60 Days after the Final Settlement Date
       have finished processing the claims and to have
 3     remitted the appropriate Settlement Relief
       amounts by check to Claimants
 4

 5           47.     I declare under penalty of perjury under the laws of the United States of America that
 6 the foregoing is true and correct.

 7

 8                   Executed on October 29, 2021, at Sunnyvale, California
 9

10                                          By: /s/ Sabita J. Soneji                                  _
11                                              Sabita J. Soneji
12                                              Counsel for Plaintiffs Ruby Mitchell and Edward J. Kelly and the
                                                Classes
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                        EXHIBIT A
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                                           UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA
                                                SAN JOSE DIVISION

                 RUBY MITCHELL and EDWARD J.                          Case No. 5:18-cv-05623-BLF
                 KELLY, individually, and on behalf of a class of
                 similarly situated persons,                          SETTLEMENT AGREEMENT
                                                                      AND RELEASE

                                                 Plaintiff,
                         vs.

                 INTERO REAL ESTATE SERVICES,

                                                Defendant.




                       This Settlement Agreement and Release is entered into between and among Plaintiffs

            Ruby Mitchell and Edward J. Kelly, on behalf of themselves and all Settlement Class Members

            as defined herein, on the one hand, and Intero Real Estate Services (“Intero”), on the other

            (collectively “Parties” or “Settling Parties”).

            1.         RECITALS

                       WHEREAS, the above-captioned lawsuit is comprised of the Parties and claims alleged or

            that could have been alleged regarding Intero’s alleged violations of the Telephone Consumer

            Protection Act (“TCPA”) and other federal and state laws (the “Litigation”).

                       WHEREAS, Plaintiffs have each asserted statutory and injunctive claims, on their own

            behalf and on behalf of classes of persons similarly situated, seeking monetary damages and other

            relief on behalf classes of persons who allegedly received unwanted telephone solicitations and

            telemarketing calls from Intero or its alleged agents.

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                     WHEREAS, Intero denies all allegations of wrongful conduct and damages, denies liability

            to Plaintiffs or the classes, asserts that its conduct and practices are lawful and proper, and asserts

            numerous procedural and substantive defenses to Plaintiffs’ claims, and Intero further denies that

            the Litigation satisfies the requirements to be tried as a class action under the applicable Federal

            Rules of Civil Procedure.

                     WHEREAS, the Parties have engaged in extensive arm’s length negotiations concerning

            the claims alleged, the defenses presented, and the potential risk and uncertain outcomes of

            continued litigation for all Parties, first as part of a settlement conference with the Honorable

            Maria-Elaina James (Ret.), and later as part of multiple settlement conferences before the

            Honorable Joseph C. Spero, Chief Magistrate Judge of the U.S. District Court, Northern District

            of California, both of whom possess extensive experience in dispute resolution.

                     WHEREAS, Plaintiffs have conducted a thorough investigation of the facts and claims

            alleged herein through extensive litigation and discovery and as part of the settlement conference

            process and have taken into account the sharply contested issues involved in this litigation, the

            risks and costs to the Settlement Class of continued litigation and attendant appeals, the uncertain

            outcomes of continued litigation and attendant appeals, the substantial relief to be provided to the

            Settlement Class pursuant to this Settlement Agreement, and Intero’s ability to satisfy an adverse

            judgment as verified by Plaintiffs’ review of Intero’s financial records. Plaintiffs believe a

            settlement on the terms set forth in this Settlement Agreement is fair, equitable, and in the best

            interests of the Settlement Class, particularly considering Intero’s adverse financial condition, and

            have thus agreed to settle this Litigation on the terms set forth herein as reached with the assistance

            of the Honorable Joseph C. Spero.




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                     WHEREAS, Intero, though expressly disclaiming any liability or wrongful conduct, but

            nonetheless recognizing the uncertainty of continued litigation and appeals, desires to resolve this

            Litigation to avoid further expense, to eliminate risk, and to resolve all claims brought by Plaintiffs

            on their own behalf and on behalf of the Settlement Class on the terms set forth in this Settlement

            Agreement, as reached with the assistance of Honorable Joseph C. Spero, and have thus agreed to

            settle this Litigation.

                     WHEREAS, Plaintiffs and Intero have agreed to settle and fully and finally resolve their

            disagreements on a claims-made basis for an amount equal to $350.00 for each class member who

            submits as valid claim consistent with the terms set forth herein, which shall include a full and

            complete release of Intero and Released Parties.

            2.       DEFINITIONS

                     As used herein, the following terms have the meanings set forth below.

                     2.1.    “Action” or “Litigation” means the action currently styled as Ruby Mitchell and

            Edward J. Kelly, et al. v. Intero Real Estate Services, Case No. 18-cv-05623-BLF, U.S. District

            Court for the Northern District of California, San Jose Division.

                     2.2.    “Administrative Expenses” shall mean the costs of administering this Settlement

            Agreement from the date of execution through the completion of distribution of funds to the

            Settlement Class, including all amounts paid the Settlement Administrator, all costs of notice,

            and all costs of allocation and distribution of funds.

                     2.3.    “Approved Claim” means a Claim submitted by a Settlement Class Member for a

            Cash Award that is timely and submitted in accordance with the terms of this Settlement

            Agreement.

                     2.4.    “Attorneys’ Fees and Costs” means such funds as may be awarded to Class

            Counsel by the Court to compensate them for their reasonable attorneys’ fees, costs and other
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            litigation expenses incurred by Plaintiffs or Class Counsel in connection with the Litigation,

            including the costs incurred in paying for the original class notice.

                     2.5.    “CAFA Notice” means the notice Intero must provide pursuant to 28 U.S.C.

            Section 1715(b).

                     2.6.    “Cash Award” means payment in the amount of $350.00 to a Settlement Class

            Member who submits an Approved Claim.

                     2.7.    “Claim” means a written request for Settlement Relief submitted by a Settlement

            Class Member to the Settlement Administrator, pursuant to the Claim Form in a form

            substantially similar to the document attached as Exhibit 1 to this Settlement Agreement or in

            the form as ultimately approved by the Court.

                     2.8.    “Claim Form” means a set of documents in a form substantially similar to Exhibit

            1 attached to this Settlement Agreement, or in the form as ultimately approved by the Court.

                     2.9.    “Claimant” means any Settlement Class Member who submits an Approved

            Claim confirming that they were a user of the Residential Telephone Number on the dates (as

            reflected in the Mojo Dialing Solutions, LLC, calling records) the calls were initiated to that

            number.

                     2.10.   “Class Counsel” means the law firms of Tycko & Zavareei LLP, Reese LLP and

            Bailey & Glasser, LLP.

                     2.11.   “Class Notice” means the program of notice described in Section 6 of this

            Settlement Agreement to be provided to potential Settlement Class Members, including the Mail

            Notice, Email Notice, and Website Notice on the Settlement Website, which will notify potential

            Settlement Class Members about, among other things, their rights to opt out or object to the




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            Settlement, the preliminary approval of the Settlement, the manner by which to submit a Claim,

            and the scheduling of the Final Approval Hearing.

                     2.12.   “Class Period” means September 13, 2014 through the date notice is provided to

            the settlement class.

                     2.13.   “Class Representatives” means Plaintiffs Ruby Mitchell and Edward J. Kelly.

                     2.14.   “Court” shall mean the United States District Court for the Northern District of

            California and the U.S. District Judge to which this Action assigned.

                     2.15.   “Days” means calendar days, except that, when computing any period of time

            prescribed or allowed by this Settlement Agreement, the day of the act, event, or default from

            which the designated period of time begins to run shall not be included. Further, when

            computing any period of time prescribed or allowed by this Settlement Agreement, the last day

            of the period so computed shall be included, unless it is a Saturday, a Sunday, or a legal holiday,

            in which event the period runs until the end of the next day which is not a Saturday, Sunday, or

            legal holiday.

                     2.16.   “Deadlines.” As used herein, the Parties agree to the following deadlines, subject

            to Court approval:

                             2.16.1.   “Notice Deadline” means the last day for the Settlement Administrator

            to send Mail Notice and Email Notice to potential Settlement Class Members. Mail and Email

            Notice shall be sent no later than thirty (30) Days after the Court’s Preliminary Approval Order,

            such date being subject to approval or modification by the Court.

                             2.16.2.   “Fee and Incentive Motion Deadline” means the last day for Plaintiffs to

            file a motion for an award of Attorneys’ Fees and Costs, and a Service Award to Plaintiffs. The




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            Fee and Incentive Motion shall be filed twenty-five (25) days after the Notice Deadline, such

            date being subject to approval or modification by the Court.

                             2.16.3.   “Objection Deadline” means the date identified in the Preliminary

            Approval Order and Class Notice by which a Settlement Class Member must serve written

            objections, if any, to the Settlement in accordance with Section 12 of this Settlement Agreement

            in order to qualify them to be able to object to the Settlement. The Objection Deadline shall be

            sixty (60) days after the Notice Deadline, such date being subject to approval or modification by

            the Court.

                             2.16.4.   “Opt Out Deadline” means the date identified in the Preliminary

            Approval Order and Class Notice by which a Request for Exclusion must be filed in writing with

            the Settlement Administrator in accordance with Section 11 of this Settlement Agreement in

            order for a potential Settlement Class Member to be excluded from the Settlement Class. The

            Opt-Out Deadline shall be sixty (60) Days after the Notice Deadline, such date being subject to

            approval or modification by the Court.

                             2.16.5.   “Claim Deadline” means the last date by which a Claim submitted to the

            Settlement Administrator by a Settlement Class Member must be postmarked or submitted

            electronically, which will be sixty (60) Days after the Notice Deadline, such date being subject to

            approval or modification by the Court. All Claims postmarked or submitted electronically at the

            Settlement Website on or before the Claim Deadline shall be timely, and all Claims postmarked

            or submitted electronically at the Settlement Website after the Claim Deadline shall be untimely

            and barred from entitlement to any Settlement Relief.

                             2.16.6.   “Final Approval Motion Deadline” means the date by which Class

            Counsel shall file the motion seeking final approval of the Settlement. The Final Approval



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            Motion Deadline shall be thirty (30) Days after the Objection and Opt-Out deadline, such date

            being subject to approval or modification by the Court.

                     2.17.   “Defense Counsel” means the law firm of Simmonds & Narita LLP and the law

            firm of Burr Forman LLP.

                     2.18.   “Final” with respect to the Final Approval Order, the Judgment, and any award of

            Attorneys’ Fees and Costs means that the time for appeal or writ review has expired or, if an

            appeal or petition for review is taken and dismissed or the Settlement (or award of Attorneys’

            Fees and Costs) is affirmed, the time period during which further petition for hearing, appeal, or

            writ of certiorari can be taken has expired. If the Final Approval Order and/or Judgment is set

            aside, modified, or overturned by the Court or on appeal, and is not fully reinstated on further

            appeal, the Final Approval Order and/or Judgment shall not become Final.

                     2.19.   “Final Approval” the later date on which (1) the Court enters final judgment, (2)

            the Court enters final approval of attorneys’ fees and expenses, and/or (3) all appellate rights

            with respect to this Settlement Agreement have expired or have been exhausted, culminating in

            affirmation of this settlement as proposed by the Parties.

                     2.20.   “Final Approval Order” means the Order Granting Final Approval of Class

            Action Settlement and Dismissing Class Plaintiffs’ Claims, to be entered by the Court pursuant

            to the Settlement, the effect of which is the dismissal with prejudice of the Litigation and release

            of claims brought therein by Plaintiffs and the Settlement Class.

                     2.21.   “Final Approval Hearing” means the hearing held by the Court to determine

            whether the terms of this Settlement Agreement are fair, reasonable, and adequate for the

            Settlement Class as a whole, and whether the Final Approval Order and the Judgment should be

            entered. The Parties shall seek to have the Final Approval Hearing on a date not earlier than one-



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            hundred and twenty-five (125) Days after the Notice Deadline, such date being subject to

            approval or modification by the Court.

                     2.22.   “Final Settlement Date” means the earliest date on which both the Final Approval

            Order and the Judgment are Final (as defined in Section 2.18). If no appeal has been taken from

            the Final Approval Order or the Judgment, the Final Settlement Date means the day after the last

            date on which either the Final Approval Order or the Judgment could be appealed. If any appeal

            has been taken from the Final Approval Order or from the Judgment, the Final Settlement Date

            means the date on which all appeals of either the Final Approval Order or the Judgment,

            including petitions for rehearing, petitions for rehearing en banc, and petitions for certiorari or

            any other form of review, have been finally disposed of in a manner that affirms the Final

            Approval Order and the Judgment.

                     2.23.   “Intero” means defendant Intero Real Estate Services, Inc.

                     2.24.   “Internal DNC Class” means: All persons in the United States who: (a) were on

            an internal list of persons who asked Intero not to call them (‘Internal DNC List’), (b) received

            more than one call made on behalf of Intero by, or on behalf of, on Intero’s California sales

            associates; (c) promoting Intero’s goods or services; (d) in a 12-month period; (e) on their non-

            business telephone line; (f) at any time since September 14, 2014.

                     2.25.   “Judgment” means the judgment to be entered by the Court pursuant to Final

            Approval Order.

                     2.26.   “National DNC Class” means the class previously certified by the Court and

            defined as follows: All persons in the United States who: (a) received more than one call made

            on behalf of Intero by, or on behalf of, one of Intero’s California sales associates; (b) promoting

            Intero’s goods or services; (c) that was placed through the dialing platform provided by Mojo



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            Dialing Solutions, LLC, the calling records for which appear in one of 35 account files,

            identified in Appendix A [to the Court’s Class Certification Order, Docket No. 126]; (d) in a 12-

            month period; (e) on their non-business telephone lines; (f) whose telephone number(s) were on

            the NDNCR for at least 31 days; (g) at any time since September 13, 2014.

                     2.27.   “NDNCR” means the National Do-Not-Call Registry maintained by the Federal

            Trade Commission.

                     2.28.   “Notice” means as follows:

                             2.28.1.   “Postcard Notice” means the notice that is mailed by the Settlement

            Administrator to potential Settlement Class Members, in a form substantially similar to Exhibit

            2 attached to this Settlement Agreement and/or as ultimately approved by the Court. The

            Postcard Notice will be a double postcard that includes a tear-off Claim Form with prepaid

            postage.

                             2.28.2.    “Email Notice” means the notice that is emailed by the Settlement

            Administrator to potential Settlement Class Members, in a form substantially similar to Exhibit

            3 attached to this Settlement Agreement and/or as ultimately approved by the Court.

                             2.28.3.   “Website Notice” means the long form notice that is available to

            Settlement Class Members on the Settlement Website, in a form substantially similar to Exhibit

            4 attached to this Settlement Agreement and/or as ultimately approved by the Court.

                     2.29.   “Notice and Administrative Costs” means all reasonable and authorized costs and

            expenses of disseminating and publishing the Class Notice in accordance with the Preliminary

            Approval Order, and all reasonable and authorized costs and expenses incurred by the Settlement

            Administrator in administering the Settlement, including but not limited to costs and expenses




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            associated with assisting Settlement Class Members, processing claims, escrowing funds, and

            issuing and mailing Settlement Relief.

                     2.30.   “Plaintiffs” mean Ruby Mitchell and Edward J. Kelly.

                     2.31.   “Preliminary Approval Motion” means Plaintiffs’ motion for the Court to approve

            the Settlement preliminarily and to enter the Preliminary Approval Order, including all exhibits

            and documents attached thereto.

                     2.32.   “Preliminary Approval Order” means the order entered by the Court that provides

            for, among other things, preliminary approval of the Settlement as fair, reasonable, and adequate;

            preliminary certification of the Settlement Class for settlement purposes only; dissemination of

            the Class Notice to potential Settlement Class Members; and a finding that the proposed Class

            Notice is reasonably calculated to apprise potential Settlement Class Members of the material

            terms of the proposed Settlement, and potential Settlement Class Members’ options and rights

            with respect thereto.

                     2.33.   “Release” or “Releases” means the releases of all Released Claims by the

            Releasing Persons against the Released Persons, as provided for in Section 10 of this Settlement

            Agreement.

                     2.34.   “Released Claims” means the claims released as provided for in Section 10 of this

            Settlement Agreement.

                     2.35.   “Released Persons” means: Intero and each of its respective divisions, parents,

            subsidiaries, affiliates, predecessors, investors, and parent companies, any direct or indirect

            subsidiary of Intero and its insurers and each of their respective divisions, parents, subsidiaries,

            predecessors, investors, parent companies, and all of the past or present officers, directors,




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            employees, agents, brokers, distributors, representatives, owners, and attorneys of all such

            entities.

                     2.36.   “Releasing Persons” means Plaintiffs, all Settlement Class Members, and anyone

            claiming through them such as heirs, administrators, successors, and assigns.

                     2.37.   “Residential Telephone Number” means a telephone number used primarily for

            residential purposes.

                     2.38.   “Request for Exclusion” means a written request from a potential Settlement

            Class Member that seeks to exclude the potential Settlement Class Member from the Settlement

            Class and that complies with all requirements in Section 11 of this Settlement Agreement.

                     2.39.   “Service Award” means Court-approved compensation for Plaintiffs for their time

            and effort undertaken in the Litigation.

                     2.40.   “Settlement” means the settlement set forth in this Settlement Agreement.

                     2.41.   “Settlement Administrator” or “Claims Administrator” or “Class Administrator”

            means KCC Class Action Services LLC.

                     2.42.   “Settlement Agreement” means this Settlement Agreement and Release, including

            all exhibits thereto.

                     2.43.   “Settlement Class” or “Class” means the class of persons that will be certified by

            the Court for settlement purposes only, as more fully described in Section 3.1 herein.

                     2.44.   “Settlement Class Member” means any person who falls within the definition of

            the Settlement Class and who does not submit a valid Request for Exclusion.

                     2.45.   “Settlement Relief” means payment by Intero to Settlement Class Members who

            submit Approved Claims.




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                     2.46.   “Settlement Website” means the Internet site created by the Settlement

            Administrator pursuant to Section Error! Reference source not found. of this Settlement

            Agreement, which shall have the Uniform Resource Locator (“URL”) of

            www.InteroClassActionSettlement.com.

                     2.47.   “Settling Parties” means, collectively, Intero, Plaintiff Ruby Mitchell, Plaintiff

            Edward J. Kelly and all Releasing Persons.

                     2.48.   “TransUnion Reverse Lookup Data” means the reverse lookup data that was

            returned by TransUnion LLC to Epiq Class Action & Claims Solutions, Inc. (“Epiq”) and used

            by Epiq to provide notice to the National DNC Class on December 31, 2020, as discussed in the

            Declaration of Cameron R. Azari, Esq. on Implementation of Notice Plan for Rule 23(b)(3) at

            Docket No. 172.

            3.       CLASS DEFINITION AND CONDITIONS AND OBLIGATIONS RELATING TO
                     THE EFFECTIVENESS OF THE SETTLEMENT

                     3.1.    The Settling Parties agree to modify the National DNC Class as certified by the

            Court and to seek approval of the following “Settlement Class”:

                             All persons in the United States who: (a) received two or more calls
                             on their residential telephone number (b) that had a duration of more
                             than zero seconds; (c) initiated by, or on behalf of, a real estate
                             salesperson at a time when Intero or Intero Referral Services was the
                             salesperson’s responsible broker (as reflected in the records
                             maintained by the California Department of Real Estate (“DRE”));
                             (d) promoting the purchase of Intero’s goods or services; (e) placed
                             through the dialing platform provided by Mojo Dialing Solutions,
                             LLC, the call records for which appear in one of 35 account files,
                             identified in Appendix A to the Court’s order granting class
                             certification in the Litigation; (f) within a 12-month period; (g)
                             whose telephone number(s) were on the NDNCR for at least 31 days
                             prior to the calls; and (h) at any time since September 13, 2014.

            Intero represents and warrants that there are 37,962 telephone numbers contained in the

            Settlement Class. That number is subject to confirmation through confirmatory discovery.


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            Plaintiffs and Intero recognize that this number is less than the number of telephone

            numbers contained in the National DNC Class certified by the Court, and that the reduction

            is attributable to the elimination of approximately 30,000 telephone numbers which Intero

            represents are numbers eliminated from the class when the Parties agreed to remove zero-

            second duration calls and calls which were not initiated by, or on behalf of, a real estate

            salesperson at a time when Intero or Intero Referral Services was the salesperson’s

            responsible broker. Plaintiffs and Intero agree to file a Stipulation and Proposed Order

            providing for this modification of the National DNC Class and providing for Notice in the

            form attached hereto as Exhibit 5 to be sent to those persons associated with the eliminated

            telephone numbers.


                     3.2.    This Settlement Agreement is expressly contingent upon the satisfaction, in full,

            of the material conditions set forth below. In the event that the Settlement is not finally approved,

            Intero shall be refunded any money that has not yet been expended, and the Litigation will

            resume as if there had been no conditional certification of the Settlement Class and no

            settlement.

                     3.3.    Condition No. 1: District Court Approval. The Settlement must be approved by

            the Court in accordance with the following steps:

                             3.3.1. Application for Preliminary Approval of Proposed Settlement, Class

            Certification, and Class Notice. After good-faith consultation with Defense Counsel, Class

            Counsel will present a Preliminary Approval Motion to the Court. The Preliminary Approval

            Motion shall include Class Notice, in forms substantially similar to Exhibits 2 through 5

            attached hereto. The Settling Parties shall, in good faith, take reasonable steps to secure

            expeditious entry by the Court of the Preliminary Approval Order.


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                             3.3.2. Settlement Class Conditional Certification. Solely for the purposes of

            settlement, providing Class Notice and implementing this Settlement Agreement, Plaintiffs shall

            seek (and Intero will not oppose) orders of preliminary and final approval of the Settlement Class

            pursuant to Rule 23 of the Federal Rules of Civil Procedure. If the Settlement is not finalized or

            finally approved by the Court for any reason whatsoever, the certification of the Settlement Class

            is voidable by any Party, the Litigation will return to its status as it existed prior to this

            Settlement Agreement, and no doctrine of waiver, estoppel or preclusion will be asserted in any

            litigated class certification proceedings or otherwise asserted in any other aspect of the Litigation

            or in any other proceeding.

                             3.3.3. CAFA Notice. Intero shall be responsible for timely compliance with the

            notice requirements of the Class Action Fairness Act, 28 U.S.C. § 1715(b). The mailings

            required by CAFA will be performed by the Class Administrator. No later than 10 days before

            the hearing on the Preliminary Approval Motion, the Class Administrator shall file with the

            Court one or more declarations stating that the Class Administrator has complied with the

            mailings required by the CAFA notice obligations.

                             3.3.4. Entry of Preliminary Approval Order. The Parties will request that the

            Court enter a Preliminary Approval Order, which shall, among other things:

                                     (a)     Certify for purposes of settlement a nationwide Settlement Class,

            approving Plaintiffs as class representatives and appointing Class Counsel, pursuant to Rule 23

            of the Federal Rules of Civil Procedure;

                                     (b)     Preliminarily approve the Settlement as fair, reasonable and

            adequate;




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                                     (c)     Order the issuance of Class Notice to the Settlement Class, and

            determine that such Class Notice complies with all legal requirements, including, but not limited

            to, the Due Process Clause of the United States Constitution;

                                     (d)     Schedule a date and time for a Final Approval Hearing to

            determine whether the Preliminary Approval Order should be finally approved by the Court;

                                     (e)     Require Settlement Class Members who wish to exclude

            themselves to submit an appropriate and timely written request for exclusion by the Opt-Out

            Deadline, as directed in this Settlement Agreement and Class Notice, and advise that a failure to

            do so shall bind those Settlement Class Members who remain in the Settlement Class;

                                     (f)     Require Settlement Class Members who wish to object to this

            Settlement Agreement to submit an appropriate and timely written statement by the Objection

            Deadline, as directed in this Settlement Agreement and Class Notice, and advise that a failure to

            do so shall prevent those Settlement Class Members from doing so;

                                     (g)     Authorize the Settling Parties to take all necessary and appropriate

            steps to establish the means necessary to implement this Settlement Agreement; and

                                     (h)     Issue related orders to effectuate the preliminary approval of this

            Settlement Agreement.

                             3.3.5. Issuance of Class Notice. Pursuant to the Preliminary Approval Order to

            be entered by the Court, the Settlement Administrator shall cause the Class Notice to be issued in

            accordance with Section 6 below.

                             3.3.6. Final Approval Hearing. In connection with the Preliminary Approval

            Motion, the Parties shall request that the Court schedule and conduct a hearing at least 125 days

            after the Notice Deadline, at which time it will consider whether the Settlement is fair,



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            reasonable, and adequate pursuant to Rule 23 of the Federal Rules of Civil Procedure.

            Specifically, Plaintiffs, after good faith consultation with Defense Counsel, shall request that, on

            or after the Final Approval Hearing, the Court: (i) enter the Final Approval Order and the

            Judgment; (ii) determine the Attorneys’ Fees and Costs that should be awarded to Class Counsel

            as contemplated in this Settlement Agreement; and (iii) determine the Service Award, if any, that

            should be awarded as contemplated by this Settlement Agreement. The Settling Parties agree to

            support entry of the Final Approval Order and the Judgment, although Intero shall retain the right

            to object to Class Counsel’s petition for award of Attorneys’ Fees and Costs. The Settling Parties

            will reasonably cooperate with one another in seeking entry of the Final Approval Order and of

            the Judgment.

                     3.4.    Condition No. 2: Finality of Judgment. The Court shall enter the Final Approval

            Order and the Judgment. The Final Approval Order and the Judgment must become Final in

            accordance with Section 2.18 above, and shall, among other things:

                             (a)     Find that (1) the Court has personal jurisdiction over all Settlement Class

            Members; (2) the Court has subject matter jurisdiction over the claims asserted in the Litigation;

            and (3) venue is proper;

                             (b)     Finally approve this Settlement Agreement, pursuant to Rule 23 of the

            Federal Rules of Civil Procedure, as fair, reasonable, and adequate;

                             (c)     Finally certify the Settlement Class for settlement purposes only;

                             (d)     Find that the form and means of disseminating the Class Notice complied

            with all laws, including, but not limited to, the Due Process Clause of the United States

            Constitution;




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                             (e)     Enter the Final Approval Order and the Judgment with respect to the

            claims of all Settlement Class Members and dismiss the claims of all Settlement Class Members

            with prejudice;

                             (f)     Make the Releases in Section 10 of this Settlement Agreement effective as

            of the date of Final Approval;

                             (g)     Permanently bar Plaintiffs and all Settlement Class Members who have

            not opted out of the Settlement from filing, commencing, prosecuting, intervening in, or

            participating in (as class members or otherwise) any action in any jurisdiction for the Released

            Claims;

                             (h)     Find that, by operation of the entry of the Judgment, Plaintiffs and all

            Settlement Class Members who have not opted out of the Settlement shall be deemed to have

            forever released, relinquished, and discharged the Released Persons from any and all Released

            Claims;

                             (i)     Authorize the Settling Parties to implement the terms of this Settlement

            Agreement;

                             (j)     Retain jurisdiction relating to the administration, consummation,

            enforcement, and interpretation of this Settlement Agreement, the Final Approval Order, and the

            Judgment, and for any other necessary purpose; and

                             (k)     Issue related orders to effectuate the Final Approval of this Settlement

            Agreement and its implementation.

            4.       SETTLEMENT CONSIDERATION, BENEFITS, AND OTHER RELIEF

                     In consideration for the Releases set forth in Section 10:

                     4.1.    Intero’s representations regarding the number of Settlement Class Members

            assume that the telephone numbers of all Settlement Class Members were used for residential
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            purposes, and that the telephone numbers were registered on the National Do Not Call Registry.

            Intero disputes that there is sufficient record evidence to support these assumptions or that they

            accurately reflect what is necessary to establish a claim under applicable law, and Intero makes

            them only for purpose of effectuating this Settlement. Without conceding that the phone number

            of any Settlement Class Member was a Residential Telephone Number, or that it was received by

            the person who registered the number, Intero has identified 37,962 telephone numbers that

            received a total of 171,584 calls or call attempts. These numbers are subject to confirmatory

            discovery.

                             4.1.1. Upon Final Approval of the Settlement, and after receiving specific

            payment instructions and all required tax information from the Class Administrator and all

            information needed to determine the identities of Claimants, Intero will deposit $350 per

            Approved Claim into an interest-bearing escrow account maintained by the Class Administrator.

            The Class Administrator will hold these amounts until such time as the Parties authorize the

            distribution of the funds to Claimants, which will be on or before the Distribution Date. The

            Distribution Date is the earliest date on which the Class Administrator may distribute funds to

            Claimants.

                             4.1.2. All Cash Awards issued to Claimants via check will state on the face of

            the check that the check will expire and become null and void unless cashed within one hundred

            and eighty (180) Days after the date of issuance. Cash Awards can be made via other means as

            well, such as electronic deposit, Paypal, Venmo or other electronic payment options, subject to

            the capabilities of the Class Administrator.

                             4.1.3. If any such payment is returned by the U.S. Postal Service as

            undeliverable, or is not negotiated before it expires, neither Intero, the Settlement Administrator,



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            nor Class Counsel shall have any further obligations to any of the Settlement Class Members as

            to these payments, except that:

                                     4.1.3.1.         For any check returned by the U.S. Postal Service with a

            forwarding address before the check’s expiration date, the Settlement Administrator will mail the

            check to the forwarding address;

                                     4.1.3.2.         If any of the Settlement Class Members contacts the

            Settlement Administrator or Class Counsel to request a replacement check, the Settlement

            Administrator will comply with that request by cancelling the initial check and issuing a

            replacement check, but the replacement check shall expire on the same date as the original check

            and the replacement check will state this on its face; and

                                     4.1.3.3.         It is the Parties’ intent to distribute all Cash Awards for

            Approved Claims to Settlement Class Members. If, after distributing the Cash Awards for

            Approved Claims as set forth in this Section 4, any cash remains from uncashed checks, the

            Parties will jointly select a cy pres recipient, and Plaintiffs will move the Court for the Court’s

            approval to have such cash from uncashed checks paid to the cy pres recipient. Under no

            circumstances shall any cash that was intended to be distributed as a Cash Award on an

            Approved Claim revert or otherwise be returned to Intero.

                     4.2     In addition to the payment of Cash Awards to Claimants, Intero agrees to take the

            following actions in connection enhancing its existing policies, procedures, and training relating

            to compliance with the requirements of the TCPA:

                             4.2.1   Intero will: (i) establish and implement written procedures to comply with

            the national do-not-call rules and (ii) institute procedures and a written policy for maintaining a




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            company list of persons who request not to be called, which will cover do-not-call requests made

            to Intero or to any representative or agent of Intero.

                                     4.2.1.1 Intero’s written policies and procedures for complying with the do-

            not-call rules will include a requirement that any Intero representative or agent making a call for

            telemarketing purposes on behalf of Intero must provide the called party with

                                                 the name of the individual caller,

                                                 the name of Intero or the Intero representative or agent on whose

                                                  behalf the call is being made, and

                                                 a telephone number or address at which Intero or the Intero

                                                  representative or agent may be contacted. The telephone number

                                                  provided may not be a 900 number or any other number for

                                                  which charges exceed local or long distance transmission

                                                  charges.

                                     4.2.1.2 Intero will maintain written policies, available upon demand, for

            maintaining a do-not-call list.

                             4.2.2   Intero will conduct annual training for all Intero representatives and agents

            regarding (i) Intero’s procedures for compliance with the national do-not-call rules and (ii) the

            existence of, and how to use, the company do-not-call list.

                             4.2.3   Intero will maintain and record a list of telephone numbers that Intero and

            its representatives and agents may not contact because they are on the national do-not-call

            registry. Intero will use a process to prevent telephone solicitations to any telephone number on

            the national do-not-call registry and will employ a version of the national do-not-call registry

            obtained from the administrator of the registry no more than 31 days prior to the date any call is


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            made. Intero will maintain records documenting the process it has undertaken to comply with

            this paragraph 4.2.3.

                             4.2.4   Intero will maintain a record of all consumer requests not to receive calls

            from Intero and its representatives.

                                     4.2.4.1 If Intero or any Intero representative or agent receives a request not

            to receive calls from Intero or any Intero representative or agent, Intero will record the request

            and place the requester’s name, if provided, and telephone number on the company do-not-call

            list at the time the request is made.

                                     4.2.4.2 Intero will honor all do-not-call requests it receives within no more

            than 30 days from the date of the request.

                                     4.2.4.3 Intero will maintain and honor all do-not-call requests it receives

            for no less than 5 years from the time the request was made.

                     4.3     Paragraphs 4.2 through 4.2.4.3 of the Settlement Agreement shall be effective for

            a period of two (2) years from the date of Final Approval of the Settlement.

            5.       RETENTION OF SETTLEMENT ADMINISTRATOR AND COSTS

                     5.1.    The parties agree that the Settlement Administrator will be responsible for all

            matters relating to the administration of this Settlement, as set forth herein. Those responsibilities

            include, but are not limited to, giving notice to the class, mailing the CAFA notices, obtaining

            updated addresses for Settlement Class Members, obtaining email addresses for Settlement Class

            Members, sending a reminder notice to Settlement Class Members for whom email addresses are

            available (and by mail for those for whom email addressed are not available), setting up and

            maintaining the Settlement Website and toll-free telephone number with interactive voice

            response (“IVR”) technology, fielding inquiries about the Settlement, processing claims, acting

            as a liaison between Settlement Class Members and the Parties regarding claims information,
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            approving Claims, rejecting any Claim Form where there is evidence of fraud (as determined by

            the Claims Administrator under policies and procedures developed by the Claims Administrator

            and approved by the Parties), directing the mailing or electronic distribution of Cash Awards to

            Settlement Class Members, and any other tasks reasonably required to effectuate the foregoing.

            The Claims Administrator will provide weekly updates on the claims status to counsel for all

            Parties.

                       5.2.   All Notice and Administrative Costs will be paid by Intero.

                       5.3.   The Settlement Administrator shall administer the Settlement in a cost-effective

            and timely manner. Without limiting any of its other obligations as stated herein, the Settlement

            Administrator shall be responsible for Mail Notice, Email Notice, Website Notice, the Settlement

            Website, administration of Settlement Relief, and providing all other related support, reporting,

            and administration as further stated in this Settlement Agreement.

                       5.4.   Both parties will coordinate with the Settlement Administrator to provide Notice

            to the Settlement Class, as provided in this Settlement Agreement.

                       5.5.   W9 Forms. The Settlement Administrator shall complete and provide to Intero

            any W9 forms necessary for Intero to implement this Settlement.

            6.         NOTICE TO THE SETTLEMENT CLASS

                       6.1    Email Notice. The Settlement Administrator will send Email Notice of the

            Settlement to the email addresses provided in the TransUnion Reverse Lookup Data no later than

            forty-five (45) days after the Court’s Preliminary Approval Order, in a form substantially similar

            to Exhibit 3 to this Settlement Agreement or as ultimately approved by the Court. The Email

            Notice shall detail how Settlement Class Members may make a Claim for Settlement Relief, may

            opt out of the Settlement (as described in Section 11), or object to the Settlement (as described in

            Section 12). The Email Notice shall also include the Settlement Class Member’s Unique
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            Identification Number, the Toll-Free Settlement Hotline (as described in Section 6.4) and a link

            to the Settlement Website (described in Section 6.3) at which copies of the Settlement

            Agreement, Website Notice, Claim Form, and other relevant case filings may be downloaded,

            and where Claims may be submitted.

                     6.2.    Mail Notice. The Settlement Class Administrators shall mail Postcard Notice to

            any physical mailing addresses provided in the TransUnion Reverse Lookup Data belonging to

            names without an associated email address, in a form substantially similar to Exhibit 2 to this

            Settlement Agreement or as ultimately approved by the Court. The Postcard Notice will be

            mailed no later than forty-five (45) days after the Court’s Preliminary Approval Order. The

            Settlement Administrator shall check the mailing list in the TransUnion Reverse Lookup Data

            against the National Change of Address database (“NCOA’’) before mailing. The Settlement

            Administrator may also run skip traces or reverse-lookups to obtain better addresses for

            Settlement Class Members before mailing.

                             6.2.1   The Postcard Notice shall detail how Settlement Class Members may

            make a Claim for Settlement Relief, may opt out of the Settlement (as described in Section 11),

            or object to the Settlement (as described in Section 12). The Postcard Notice shall also include

            the Settlement Class Member’s Unique Identification Number, the Toll-Free Settlement Hotline

            (as described in Section 6.4) and a link to the Settlement Website (described in Section 6.3) at

            which copies of the Settlement Agreement, Website Notice, Claim Form, and other relevant case

            filings may be downloaded, and where Claims may be submitted.

                             6.2.2   For any Email Notices that are returned as undeliverable, the Settlement

            Administrator will make two more attempts to deliver the Email Notice. If Email Notice cannot




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            be completed, the Settlement Administrator shall mail Postcard Notice as described in Section

            6.2.

                     6.3.    Settlement Website. No later than the deadline to send Email and Postcard Notice,

            the Settlement Administrator shall establish a Settlement Website, which shall contain the

            Website Notice, in a form substantially similar to Exhibit 4, copies of the Settlement Agreement,

            Claim Form, and other relevant case filings which may be downloaded. The Settlement Website

            shall require Settlement Class Members input their Unique Identification Number. The

            Settlement Website shall contain instructions and allow Settlement Class Members to submit a

            Claim, which will include inputting their telephone number to determine if, in fact, they are a

            member of the Settlement Class. The Settlement Website shall have a URL which identifies the

            Settlement Website as www.InteroClassActionSettlement.com.

                             6.3.1. The Settlement Website shall remain open and accessible for not less than

            thirty (30) Days after the last day to cash any check mailed to Settlement Class Members.

                             6.3.2. All costs associated with the Settlement Website will be paid by Intero.

                     6.4.    Toll-Free Settlement Hotline. The Settlement Administrator will establish and

            maintain an automated toll-free telephone line with IVR technology for persons in the Settlement

            Class to call for information regarding the Settlement, which will include instructions for how

            Settlement Class Members can submit a Claim over the phone, consistent with the terms of this

            Settlement Agreement. The parties will mutually approve of scripts used by the Settlement

            Administrator in connection with the IVR process.

            7.       CLAIM FILING, REVIEW, AND APPROVAL PROCESS

                     7.1.    Claim Filing Process. Settlement Class Members shall be permitted to make a

            Claim for Settlement Relief in one of three ways:



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                             (a)     By completing an online Claim Form available on the Settlement
                                     Website and submitting that Claim Form online or by mail; or

                             (b)     By calling the Toll-Free Settlement Hotline and submitting a Claim
                                     by telephone; or

                             (c)     By mailing the tear-off double sided prepaid postcard claim form.

                     7.2.    Any Settlement Class Member who does not submit a completed Claim Form on

            or before the Claim Deadline shall be deemed to have waived any claim to Settlement Relief and

            any such Claim Form will be rejected.

                     7.3.    Claim Review Process. As soon as practicable, the Settlement Administrator shall

            confirm that each Claim Form submitted is in the form required, that each Claim Form was

            submitted in a timely fashion, and that the person submitting the Claim is a member of the

            Settlement Class. The Settlement Administrator shall employ reasonable audit procedures and

            may request additional information from Claimants as appropriate for verification purposes. In

            the event that more than one person submits a valid Claim with respect to the same telephone

            number, the Settlement Administrator shall send a follow-up Notice to each such persons

            requesting the time period during which they were a user of the telephone number. For any

            persons who provide the time period during which they were a user of the telephone number to

            the Settlement Administrator, the Settlement Administrator will compare that information with

            the dates of the calls to the number in the Mojo Dialing Solutions, LLC, calling records attached

            as Appendix A to the Court’s Order Granting Class Certification (Docket No. 126). The

            Settlement Administrator will pay a Cash Award to each person who provides a date range that

            includes the dates of the calls reflected in the Mojo Dialing Solutions, LLC, calling records for

            the telephone number.

                     7.4.    Notification. Within ten (10) Days after the Claims Deadline, the Settlement

            Administrator shall provide Class Counsel and Intero with a list of all Settlement Class Members

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            who filed a Claim, whether the Claim was rejected or accepted, and if rejected, the reason it was

            rejected. The Parties will use their best efforts to amicably resolve any dispute about the

            processing of any Claim.

                     7.5.    The Settlement Administrator shall have sixty (60) Days after the Final

            Settlement Date within which to process the Claims and remit the appropriate Settlement Relief

            amounts by check or other electronic means as set forth in paragraph 4.1.2 to Claimants.

            8.       COVENANTS

                     The Settling Parties covenant and agree as follows:

                     8.1.    Covenant Not to Sue. Plaintiffs and Settlement Class Members covenant and

            agree not to file, commence, prosecute, intervene in, or participate in (as class members or

            otherwise) any action in any jurisdiction based on any of the Released Claims against any of the

            Released Persons. The foregoing covenant and this Settlement Agreement shall be a complete

            defense to any of the Released Claims against any of the Released Persons. However, this

            Settlement Agreement is not intended to and does not prohibit a Settlement Class Member from

            responding to inquiries from federal, state or local agencies and/or law enforcement, even if the

            inquiries relate to the Released Claims. Similarly, this Settlement Agreement is not intended to

            and does not prohibit a Settlement Class Member from bringing his or her concerns to federal,

            state or local agencies and/or law enforcement, even if those inquiries relate to the Released

            Claims.

                     8.2.    Cooperation. The Settling Parties agree to cooperate reasonably and in good faith

            with the goal of obtaining entry of the Final Approval Order and the Judgment as quickly as is

            reasonably practicable and expeditiously reaching agreement on the matters requiring mutual

            agreement as set forth in this Settlement Agreement, including, but not limited to, the

            expeditious agreement to the terms of all Class Notice documents and settlement administration
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            protocols, and the preparation and execution of all other reasonable documents necessary to

            achieve Final Approval of the Settlement by the Court.

            9.       REPRESENTATIONS AND WARRANTIES

                     9.1.    Plaintiffs’ Representations and Warranties.

                             9.1.1. Plaintiffs represent and warrant that they are the sole and exclusive owner

            of all their own Released Claims and have not assigned or otherwise transferred any interest in

            any of their Released Claims against any of the Released Persons, and further covenant that they

            will not assign or otherwise transfer any interest in any of their Released Claims.

                             9.1.2. Plaintiffs represent and warrant that they have no surviving claim or cause

            of action against any of the Released Persons with respect to any of the Released Claims.

                     9.2.    Intero’s Representations and Warranties.

                             9.2.1. Intero represents and warrants that there are 37,962 telephone numbers

            contained in the Settlement Class.

                             9.2.2. Intero represents and warrants that it has provided Plaintiffs with true and

                 accurate financial records, including its balance sheet, income statement, and tax returns.

                     9.3.    The Settling Parties’ Representations and Warranties. The Settling Parties, and

            each of them on his, her, or its own behalf only, represent and warrant that they are voluntarily

            entering into this Settlement Agreement as a result of arm’s-length negotiations among their

            counsel, that in executing this Settlement Agreement, they are relying solely upon their own

            judgment, belief, and knowledge, and the advice and recommendations of their own

            independently selected counsel, concerning the nature, extent and duration of their rights and

            claims hereunder and regarding all matters that relate in any way to the subject matter hereof;

            and that, except as provided herein, they have not been influenced to any extent whatsoever in

            executing this Settlement Agreement by representations, statements, or omissions pertaining to
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            any of the foregoing matters by any Party or by any person representing any Party to this

            Settlement Agreement. Each of the Settling Parties assumes the risk of mistake as to facts or law.

            10.      Releases.

                     10.1.   Released Claims of Settlement Class. Upon Final Approval, each member of the

            Settlement Class shall, by operation of the Judgment, be deemed to have fully, conclusively,

            irrevocably, forever, and finally released, relinquished, and discharged the Released Persons in

            all capacities, including individual and trustee capacities, from any and all claims, causes of

            action, suits, obligations, debts, demands, agreements, promises, liabilities, damages, losses,

            controversies, costs, expenses and attorneys’ fees of any nature whatsoever, whether based on

            any federal law, state law, common law, territorial law, foreign law, contract, rule, regulation,

            any regulatory promulgation (including, but not limited to, any opinion or declaratory ruling),

            common law or equity, whether known or unknown, suspected or unsuspected, asserted or

            unasserted, foreseen or unforeseen, actual or contingent, liquidated or unliquidated, punitive or

            compensatory, as of the date of Final Approval, that relate to or arise out of the calls that were

            placed through the dialing platform provided by Mojo Dialing Solutions, LLC, the calling

            records for which appear in one of 35 account files, identified in Appendix A to the Court’s

            Order Granting Class Certification (Docket No. 126). This release includes any and all claims for

            violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 and the regulations

            promulgated thereunder, and any and all claims for violation of any laws of any state that

            regulate, govern, prohibit or restrict the making, placing, dialing or initiating of calls to phone

            numbers on the NDNCR (or any state law equivalent) or to persons who asked not to be called or

            to be placed on an internal do-not-call list.

                     10.2.   Without in any way limiting their scope, the Released Claims cover by example

            and without limitation, any and all claims for attorneys’ fees or costs incurred by Class Counsel,
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            Plaintiffs, or any Settlement Class Members in connection with or related in any manner to this

            Settlement, the administration of this Settlement, and/or the Released Claims, except to the

            extent otherwise specified in this Settlement Agreement.

                     10.3.   In connection with the Releases in Section 10.1, and without expanding their

            scope in any way, Plaintiffs and each Settlement Class Member shall be deemed, as of the date

            of Final Approval, to have waived any and all provisions, rights, benefits conferred by Section

            1542 of the California Civil Code, and any statute, rule and legal doctrine similar, comparable, or

            equivalent to California Civil Code Section 1542, which provides that:

                     A general release does not extend to claims that the creditor or releasing party does
                     not know or suspect to exist in his or her favor at the time of executing the release
                     and that, which if known by him or her, would have materially affected his or her
                     settlement with the debtor or released party.

                     10.4.   This Settlement Agreement and the Releases herein do not affect the rights of

            Settlement Class Members who timely and properly submit a Request for Exclusion from the

            Settlement in accordance with the requirements in Section 11 of this Settlement Agreement.

                     10.5.   The administration and consummation of the Settlement as embodied in this

            Settlement Agreement shall be under the authority of the Court. The Court shall retain

            jurisdiction to protect, preserve, and implement this Settlement Agreement, including, but not

            limited to, enforcement of the Releases contained in this Settlement Agreement. The Court shall

            retain jurisdiction in order to enter such further orders as may be necessary or appropriate in

            administering and implementing the terms and provisions of this Settlement Agreement.

                     10.6.   Upon entry of the Final Approval Order and the Judgment: (i) this Settlement

            Agreement shall be the exclusive remedy for any and all Settlement Class Members, except

            those who have properly requested exclusion (opted out) in accordance with the terms and

            provisions hereof; (ii) the Released Persons shall not be subject to liability or expense for any of


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            the Released Claims to any Settlement Class Member(s) except as set forth in this Settlement

            Agreement; and (iii) Settlement Class Members who have not opted out shall be permanently

            barred from filing, commencing, prosecuting, intervening in, or participating in (as class

            members or otherwise) any action in any jurisdiction based on any of the Released Claims.

                     10.7.   Nothing in this Settlement Agreement shall preclude any action to enforce the

            terms of this Settlement Agreement, including participation in any of the processes detailed

            therein. The Releases set forth herein are not intended to include the release of any rights or

            duties of the Settling Parties arising out of this Settlement Agreement, including the express

            warranties and covenants contained herein.

            11.      OPT-OUT RIGHTS.

                     11.1.   A potential Settlement Class Member who wishes to opt out of the Settlement

            Class must complete and send to the Settlement Administrator a Request for Exclusion that is

            postmarked no later than the Opt Out Deadline. The Request for Exclusion must: (a) identify the

            name and address of the potential Settlement Class Member requesting exclusion; (b) provide the

            phone number at which that potential Settlement Class Member was called by Intero, or someone

            acting on its behalf, during the Class Period; (c) be personally signed by the potential Settlement

            Class Member requesting exclusion; and (d) contain a statement that reasonably indicates a

            desire to be excluded from the Settlement.

                     11.2.   Any potential member of the Settlement Class who properly opts out of the

            Settlement Class by complying with all the requirements set forth in the preceding paragraph

            shall: (a) not be bound by any orders or judgments relating to the Settlement; (b) not be entitled

            to relief under, or be affected by, this Settlement Agreement; (c) not gain any rights by virtue of

            this Settlement Agreement; and (d) not be entitled to object to any aspect of the Settlement.



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                     11.3.   The Settlement Administrator shall provide Class Counsel and Defense Counsel

            with a list of all timely Requests for Exclusion within seven (7) Days after the Opt Out Deadline.

                     11.4.   Except for those potential members of the Settlement Class who timely and

            properly file a Request for Exclusion in accordance with Section 11, all other potential members

            of the Settlement Class will be deemed to be Settlement Class Members for all purposes under

            this Settlement Agreement, and upon Final Approval, will be bound by its terms, regardless of

            whether they receive any monetary relief or any other relief.

            12.      OBJECTIONS.

                     12.1.   Overview. Any potential Settlement Class Member who does not opt out of the

            Settlement will be a Settlement Class Member and may object to the Settlement. To object, the

            Settlement Class Member must comply with the procedures and deadlines in this Settlement

            Agreement.

                     12.2.   Process. Any Settlement Class Member who wishes to object to the Settlement

            must do so in writing on or before the Objection Deadline, as specified in the Class Notice and

            Preliminary Approval Order. The written objection must be filed with the Clerk of Court no later

            than the Objection Deadline.

                             12.2.1. The requirements to assert a valid written objection shall be set forth in the

            Class Notice and on the Settlement Website, and, to be valid, the written objection must include:

            (a) the name, address, and telephone number of the Settlement Class Member objecting and, if

            different, the telephone number at which the Settlement Class Member was called by Intero

            during the Settlement Class Period; (b) if represented by counsel, the name, address, and

            telephone number of the Settlement Class Member’s counsel; (c) the basis for the objection; and

            (d) a statement of whether the Settlement Class Member objecting intends to appear at the Final

            Approval Hearing, either with or without counsel.
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                             12.2.2. Any Settlement Class Member who fails to object to the Settlement in the

            manner described in the Class Notice and consistent with all of the requirements of this Section

            shall be deemed to have waived any such objection, shall not be permitted to object to any terms

            or approval of the Settlement at the Final Approval Hearing, and shall be foreclosed from

            seeking any review of the Settlement or the terms of this Settlement Agreement by appeal or

            other means.

                     12.3.   Appearance. Subject to approval of the Court, any Settlement Class Member who

            files and serves a written objection in accordance with Section 12.2 and the Class Notice may

            appear, in person or by counsel, at the Final Approval Hearing held by the Court, to show cause

            why the proposed Settlement should not be approved as fair, adequate, and reasonable, but only

            if the objecting Settlement Class Member: (a) files with the Clerk of the Court a notice of

            intention to appear at the Final Approval Hearing by the Objection Deadline (“Notice Of

            Intention To Appear”); and (b) serves the Notice of Intention to Appear on all counsel designated

            in the Class Notice by the Objection Deadline.

                             12.3.1. The Notice of Intention to Appear must include the Settlement Class

            Member’s full name, address, and telephone number, as well as copies of any papers, exhibits, or

            other evidence that the objecting Settlement Class Member will present to the Court in

            connection with the Final Approval Hearing.

                             12.3.2. Any Settlement Class Member who does not file a Notice of Intention to

            Appear in accordance with the deadlines and other specifications set forth in this Settlement

            Agreement and Class Notice shall not be entitled to appear at the Final Approval Hearing or raise

            any objections.




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            13.      SETTLEMENT APPROVAL.

                     13.1.   Plaintiffs shall apply to the Court for entry of the proposed Preliminary Approval

            Order and setting of a Final Approval Hearing.

                     13.2.   Not later than seven (7) Days before the Final Approval Motion Deadline, the

            Settlement Administrator will provide the Parties with a declaration that the Class Notice has

            been disseminated in accordance with the Preliminary Approval Order. The declaration shall

            identify the number of Requests for Exclusion to the Settlement, along with the number of claims

            received to date.

            14.      CERTIFICATION OF SETTLEMENT CLASS FOR SETTLEMENT PURPOSES.

                     14.1.   The Parties entered this Settlement Agreement solely for the purposes of fully and

            finally resolving the Litigation along the lines and terms set forth herein. Nothing in this

            Settlement Agreement shall be construed as an admission by Intero or the Released Parties of

            any wrongdoing as asserted in the Litigation, or that this Litigation or any similar case is

            amenable to class certification for purposes of trial, or that any of the Released Claims are

            meritorious in any respect.

                     14.2.   The Parties agree, for the sole purpose of effecting a settlement, and upon the

            express terms and conditions set out in this Settlement Agreement, Plaintiffs shall seek, and

            Intero will not oppose, certification of the Settlement Class defined above. Plaintiffs, on behalf

            of themselves and the Settlement Class, acknowledge and agree that if this Settlement

            Agreement is not fully and finally approved by the Court without material change, the settlement

            is voidable at the election of either Party and, if voided, that Intero has not waived and has

            expressly reserved the right to challenge the certification of the Settlement Class and the

            substantive merits of Plaintiffs’ claims in the Litigation, and to object to and appeal any order

            entered in any of the cases that comprise the consolidated Litigation. Nothing in this Settlement

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            Agreement may be used in any judicial or administrative proceeding regarding the propriety of

            class certification outside of settlement. The Court’s certification of the Settlement Class is not

            and shall not be deemed to be the adjudication of any fact or issue for purpose other than the

            accomplishment of the Settlement.

                     14.3.   If this Settlement is not approved by the Court for any reason, or is modified by

            the Court (including change to the release provided herein), or is otherwise terminated, then (1)

            this Settlement Agreement shall have no legal or persuasive effects and shall immediately

            become null and void, and the Parties expressly agree to do whatever is necessary legally and

            procedurally to return all cases that comprise this Litigation to their pre-settlement status,

            including filing all necessary joint motions; (2) this settlement and all aspects of it, including but

            not limited to, all negotiations, terms and documents created as a result of negotiations or the

            proposed settlement may not be used for any purpose in this or any other legal action unless the

            subject of that legal action is the settlement of the Litigation; (3) the Litigation shall revert to the

            same procedural and legal status existing prior to the Parties entering into this Settlement

            Agreement; (4) the Settlement Class shall be automatically decertified, and the Parties shall take

            whatever action is appropriate so that the Parties can be restored to their pre-settlement positions,

            and (5) all monies paid to the Settlement Administrator that had not been used at that time shall

            be returned to Intero within fourteen (14) days.

            15.      ATTORNEYS’ FEES, COSTS, AND PLAINTIFFS’ SERVICE AWARDS.

                     15.1.   Class Counsel will petition the Court for an award of Attorneys’ Fees and Costs

            for all attorney services and expenses related to this Litigation, including but not limited to,

            services rendered and to be rendered in connection with the Settlement Agreement and its

            implementation. The amount of Attorneys’ Fees and Costs to be awarded to Class Counsel and

            payable by Intero within fourteen (14) days of Final Approval, unless otherwise agreed, shall be
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            determined by the Court. Class Counsel agree they will not seek or accept Attorneys’ Fees and

            Costs exceeding $2,775,000.00. Intero reserves the right to object to the petition for Attorneys’

            Fees and Costs, or any part thereof. The Parties further agree that any portion of the Attorneys’

            Fees and Costs up to the amounts set forth above that are requested but not approved by the

            Court will inure to the benefit of the Settlement Class to be distributed pro rata to Claimants, and

            that such amounts will not be returned to Intero. Under no circumstances, may Plaintiffs, the

            Classes, or Class Counsel seek or accept Attorneys’ Fees and Costs that exceeds $2,775,000.00.

            The Attorneys’ Fees and Costs shall be awarded in addition to the amounts paid to the Settlement

            Class. In other words, the amounts paid to the Settlement Class will not be reduced by the

            amount of Attorneys’ Fees and Costs awarded.

                     15.2.   The amount of Attorneys’ Fees and Costs described herein is a material aspect of

            this Agreement. In the event Plaintiffs, the Settlement Class, or Class Counsel seek or are

            awarded any amount of Attorneys’ Fees and Costs that, in total, exceeds $2,775,000.00, Intero

            shall have the right terminate this Agreement. If Intero elects to exercise its right of termination,

            Intero shall have no obligation to make any further payments required by this Agreement any

            money held in escrow by the Settlement Administrator shall be returned to Intero with five (5)

            days.

                     15.3.   Class Counsel hereby disclose that they have a joint prosecution agreement

            (“JPA”) with a fee split agreement. That agreement is that after Class Counsel are reimbursed

            for their costs, attorney fees will be split as follows: Tycko & Zavareei LLP: 47.5% of the fees,

            Reese LLP: 47.5% of the fees; and, Bailey & Glasser, LLP: 5% of the fees.

                     15.4.   Plaintiffs may make an application to the Court for a Service Award not to exceed

            $5,000 for each class representative. Intero takes no position regarding the appropriateness of



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            such an award. If the Court approves a Service Award, the payment for the Service Award, in the

            amount approved the Court, shall be made by check payable to “Tycko & Zavareei LLP

            Attorney Trust Account” and shall be delivered to 1828 L Street NW, Suite 1000, Washington,

            DC 20036 within twenty-one (21) days after Final Approval. The Parties further agree that any

            portion of the Service Awards up to the amounts set forth above that are requested but not

            approved by the Court will inure to the benefit of the Settlement Class to be distributed pro rata

            to Claimants, and that such amounts will not be returned to Intero. In the event payment is

            required under this Section, Plaintiffs will provide Intero a copy of their current W-9s within

            fourteen (14) days after Final Approval. .

                     15.5.   The procedure for and the grant or denial or allowance or disallowance by the

            Court of the Attorneys’ Fees and Costs and Service Awards are to be considered by the Court

            separately from the Court’s consideration of the fairness, reasonableness, and adequacy of the

            Settlement, and any order or proceedings relating to the applications for Attorneys’ Fees and

            Costs and Service Awards, or any appeal from any order relating thereto or reversal or

            modification thereof, will not operate to terminate or cancel this Settlement Agreement, or affect

            or delay the finality of the Final Approval Order or Judgment approving this Settlement

            Agreement and the Settlement, except as provided for in Section 15.2.

                     15.6.   As long as Plaintiffs’ application for a Service Award is made in compliance with

            this section, the Court’s grant or denial of the application (and any subsequent appeal of that

            ruling) will not operate to terminate or cancel this Agreement, or affect or delay the finality of

            the Final Approval Order or Judgment approving this Agreement and Settlement.




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            16.      TERMINATION AND EFFECT THEREOF.

                     16.1.   This Settlement Agreement shall be terminable by any Party if any of the

            conditions of Section 3 are not fully satisfied unless the relevant conditions are waived in writing

            signed by authorized representatives of Plaintiffs and Intero.

                     16.2.   This Settlement Agreement shall also terminate at the discretion of Plaintiffs or

            Intero if, in the good faith exercise of discretion: (1) the Court, or any appellate court(s), rejects,

            modifies, or denies approval of any portion of this Settlement Agreement or the proposed

            Settlement that is material, including without limitation, the terms or relief, the findings or

            conclusions of the Court, the provisions relating to Class Notice, the definition of the Settlement

            Class, and/or the terms of the Releases; (2) the Court, or any appellate court(s), does not enter or

            completely affirm, or alters, or restricts, or expands, any portion of the Final Approval Order or

            Judgment, or any of the Court’s findings of fact or conclusions of law, that is material; or (3) if

            all of the conditions required to be met before the Final Settlement Date do not occur.

                     16.3.   At its sole discretion, without penalty or sanction, Intero may terminate this

            settlement and the Parties will return to their respective positions in the Litigation if more than

            5% of the Settlement Class Members properly and timely opt out of the Settlement in accordance

            with Section 11 of this Agreement.

                     16.4.   If the Settlement Agreement is terminated as provided herein, the Settlement shall

            be null and void from its inception, and the Settling Parties will be restored to their respective

            positions in the Litigation as of the day prior to the date of the Preliminary Approval Order. In

            such event, the Parties shall move the Court to vacate any and all orders entered by the Court

            pursuant to the provisions of this Settlement Agreement, including any order certifying the

            Settlement Class for settlement purposes. Further, in such event, the terms and provisions of this

            Settlement Agreement will have no further force and effect with respect to the Settling Parties
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            and will not be used in the Litigation, or in any other proceeding for any purpose, shall not be

            deemed or construed to be an admission or confession by the Parties of any fact, matter, or

            proposition of law, and any judgment or order entered by the Court in accordance with the terms

            of this Agreement will be treated as vacated, nunc pro tunc.

            17.      MISCELLANEOUS PROVISIONS

                     17.1.   The Settling Parties acknowledge that it is their intent to consummate this

            Agreement, and they agree to cooperate to the extent reasonably necessary to effectuate and

            implement all terms and conditions of this Agreement and to exercise their best efforts to

            accomplish the foregoing terms and conditions of this Agreement.

                     17.2.   The Settling Parties intend the Settlement to be a final and complete resolution of

            all disputes between them with respect to the Litigation. The Settlement compromises claims that

            are contested and will not be deemed an admission by any Settling Party as to the merits of any

            claim or defense. The Settling Parties agree that the consideration provided to the Settlement

            Class and the other terms of the Settlement were negotiated in good faith and at arm’s length by

            the Settling Parties and reflect a Settlement that was reached voluntarily after consultation with

            competent legal counsel. The amounts paid are to compromise the Claimants’ claims for

            damages and the amounts paid represent the Claimants’ compensation for such alleged damages.

                     17.3.   Neither this Agreement nor the Settlement, nor any act performed or document

            executed pursuant to or in furtherance of this Agreement or the Settlement is or may be deemed

            to be or may be used as an admission or evidence of the validity of any Released Claims, or of

            any wrongdoing or liability of Intero.

                     17.4.   All agreements made and orders entered during the course of the Litigation

            relating to the confidentiality of information will survive this Agreement.



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                     17.5.    All of the Exhibits to this Agreement are material and integral parts hereof and are

            fully incorporated herein by this reference.

                     17.6.    This Agreement may be amended or modified only by a written instrument signed

            by or on behalf of Plaintiffs and Intero or their respective successors-in-interest. Any material

            changes must be approved by the Court.

                     17.7.    This Agreement and the Exhibits attached hereto constitute the entire agreement

            among the Settling Parties, and no representations, warranties, or inducements have been made

            to any Party concerning this Agreement or its Exhibits other than the representations, warranties,

            and covenants covered and memorialized herein. Except as otherwise provided herein, no

            Settling Party shall be responsible for paying fees, expenses, or other costs incurred by any other

            Settling Party.

                     17.8.    This Agreement will be binding upon, and inure to the benefit of, the successors

            and assigns of the Settling Parties.

                     17.9.    No party shall file any materials with the Court in support of the settlement that

            are inconsistent with the terms of this Settlement Agreement.

                     17.10. The Court will retain jurisdiction with respect to implementation and enforcement

            of the terms of this Agreement, and all Settling Parties hereto submit to the jurisdiction of the

            Court for purposes of implementing and enforcing the Settlement.

                     17.11. None of the Settling Parties, or their respective counsel, will be deemed the

            drafter of this Agreement or its Exhibits for purposes of construing the provisions thereof. The

            language in all parts of this Agreement and its Exhibits will be interpreted according to its fair

            meaning, and will not be interpreted for or against any Settling Party as the drafter thereof.




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                     17.12. The Settlement shall be governed by the laws of the State of California, except to

            the extent that the law of the United States governs any matters set forth herein, in which case

            such federal law shall govern.

                     17.13. The following principles of interpretation apply to the Agreement: (a) the plural

            of any defined term includes the singular, and the singular of any defined term includes the

            plural, as the case may be; (b) references to a person are also to the person’s successors-in-

            interest; and (c) whenever the words “include,” includes,” or ‘including” are used in the

            Agreement, they shall not be limiting, but rather shall be deemed to be followed by the words

            “without limitation.”

                     17.14. The Settlement Agreement shall not be subject to collateral attack by any

            Settlement Class Member or any recipient of the notices of the Settlement Class after the Final

            Approval Order and Judgment are entered.

                     17.15. The Parties may execute this Settlement Agreement in counterparts, and

            execution of counterparts shall have the same force and effect as if all Parties had signed the

            same instrument. Electronic copies of the executed Settlement Agreement shall be considered an

            original and may be relied upon as such.

                     17.16. All members of the Settlement Class shall be responsible for paying any and all

            federal, state, and local taxes, if any, due on the payments made to them under this Settlement

            Agreement. No opinion concerning the tax consequences of the proposed settlement to members

            of the Settlement Class or anyone else is given or will be given by the Parties or the Parties’

            counsel.

                     17.17. This Settlement Agreement shall be binding upon and inure to the benefit of the

            Parties to this Settlement Agreement, Class Counsel, and the members of the Settlement Class,



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            and their respective heirs, predecessors, successors, and assigns. Nothing herein shall prevent

            Intero from assigning its rights and obligations.

                     17.18. All notices (other than the Class Notice) required by the Agreement shall be made

            in writing and communicated by email and mail to the following addresses:

                     17.19. All notices to Class Counsel shall be sent to Class Counsel, c/o:


                             Sabita J. Soneji
                             TYCKO & ZAVAREEI LLP
                             1970 Broadway, Suite 1000
                             Oakland, CA 94612

                             Michael R. Reese
                             REESE LLP
                             100 West 93rd Street, 16th Floor
                             New York, New York 10025

                             Counsel for Plaintiff Ruby Mitchell, Edward J. Kelly, and the Class

                     17.20. All notices to Defense Counsel shall be sent to Defense Counsel, c/o:

                             Tomio B. Narita
                             SIMMONDS & NARITA LLP
                             44 Montgomery Street, Suite 3010
                             San Francisco, California 94104-4816

                             Counsel for Intero

                     17.21. The notice recipients and addresses designated above may be changed by written

            agreement of Plaintiffs and Intero.

                     17.22. Upon request, the Parties agree to promptly provide each other with copies of

            objections, Requests for Exclusion, or other similar documents received from Settlement Class

            Members in response to the Class Notice.

                     IN WITNESS WHEREOF, the Settling Parties have executed and caused this Settlement

            on the dates set forth below.



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             On Behalf of Defendant Intero Real Estate Services:

             Dated: ____________________________                By:       ______________________________

                                                                Name: ______________________________

                                                                Title: ______________________________



             On Behalf of Plaintiffs and the Settlement Class:
                      10/26/2021
             Dated: ____________________________                By:       ______________________________

                                                                Ruby Mitchell

             On Behalf of Plaintiffs and the Settlement Class:
                      10/26/2021
             Dated: ____________________________                By:       ______________________________

                                                                Edward J. Kelly



             Approved as to form and content:

             For Plaintiffs Ruby Mitchell and Edward J.        For Intero Real Estate Services:
             Kelly and the Class:
             TYCKO & ZAVAREEI LLP                              SIMMONDS & NARITA LLP

             By:
                   Sabita J. Soneji                            By:
                   Email: ssoneji@tzlegal.com                         Tomio B. Narita
                   1970 Broadway, Suite 1000                          Email: tnarita@snllp.com
                   Oakland, California 94612                          R. Travis Campbell
                                                                      Email: tcampbell@snllp.com
                   REESE LLP                                          Margaret T. Cardasis
                                                                      mcardasis@snllp.com
                   By: _________________                              44 Montgomery Street, Suite 3010
                   Michael R. Reese                                   San Francisco, California 94104-4816
                   100 West 93rd Street, 16th Floor
                   New York, New York 10025




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                      Exhibit 1
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                                          Claim Form
Name:
Address:
Contact Phone Number:
Email Address:
Unique Identification Number:
I regularly used the following telephone numbers for residential purposes between September 13,
2014 and December 19, 2019:
_____________________         ___________________            _______________________
_____________________         ___________________            _______________________


I declare under penalty of perjury that the information provided above is true and correct.
Date: ___________________
Signature: __________________
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                      Exhibit 2
CaseL 5:18-cv-05623-BLF
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    What is the lawsuit about? The lawsuit claims that Intero Real Estate Services (“Intero” or “Defendant”), through
    its agents, violated the Telephone Consumer Protection Act (“TCPA”) by calling the Plaintiffs and as many as 37,962
    others to solicit real estate business at telephone numbers registered on the National Do Not Call Registry. The TCPA
    entitles consumers who prove they received calls that violate the Act to receive money and a court order to stop calls.
    Intero denies that it did anything wrong. The Court has not decided who is right.
    A settlement has been proposed to resolve this class action lawsuit. Intero has agreed to pay each Settlement Class
    Member who submits a valid Claim $350. You may be a Settlement Class Member if your telephone number was on
    the National Do Not Call Registry for at least 31 days, and you received marketing calls placed through Mojo
    Dialing Solutions, LLC, by a specific list of real estate agents promoting Intero’s services between September 13,
    2014 and December 19, 2019. You received this notice because call records indicate you may be a Settlement
    Class Member.
    How do I make a claim? Your Unique Identification Number is [insert number]. You may make a Claim for
    settlement relief by: (1) filling out, signing, and mailing this Claim Form back; or (2) submitting a Claim online at
    [insert website]; or (3) calling [insert hotline phone number] and providing information requested by the Settlement
    Administrator.
    The deadline to file a Claim is [insert date]. If you make a Claim, you give up the right to sue separately for
    damages.
    The Settlement: As part of the settlement, Intero may be required to pay service awards to Class Representatives
    who pursued this litigation; pay attorneys’ fees and costs to the lawyers who brought this lawsuit; and pay Notice and
    Administration Costs. Plaintiffs will request service awards of up to $5,000 each, and up to $2,775,000 in attorneys’
    fees and costs. You may find additional details about the Settlement at [insert website] or by calling [insert hotline
    phone number].
    Do I have a lawyer? Yes. The Court appointed Tycko & Zavareei LLP, Reese LLP and Bailey & Glasser, LLP as
    counsel for the Settlement Class, to be paid by Intero. Or you may appear through an attorney at your own expense.
       What are your other options? If you do not want to be legally bound by the Settlement, you must exclude yourself
Caseby5:18-cv-05623-BLF
       [insert date]. If you do not excludeDocument
                                           yourself, you will277-2
                                                             release any claims
                                                                         Filedyou11/01/21
                                                                                  may have, as more
                                                                                                Pagefully described
                                                                                                           60 of 11
       in the Settlement Agreement, available at the Settlement Website. You may remain a Settlement Class Member and
       object to the Settlement by [insert date]. The website explains how to exclude yourself or object.
       Final Approval Hearing. The Court has scheduled a hearing for [insert date] at [insert time] in Courtroom __ of
       the U.S. District Court for the Northern District of California, San Jose Division. At that time, it will decide whether
       to give Final Approval to the Settlement. The hearing may be changed without notice. It is not necessary for you to
       appear at this hearing, but you may attend at your own expense.
                                    [web address]             •     [toll-free number]
CaseMitchell
     5:18-cv-05623-BLF
             et. al v. Intero Real EstateDocument 277-2 Filed 11/01/21 Page 61 of 11
                                                                 FIRST-CLASS MAIL
     Services Class Action Administrator                           U.S. POSTAGE
     PO Box XXXX                                                        PAID
     Portland, OR 97208-XXXX                                        Portland, OR
                                                                  PERMIT NO. 2882
      Court-Ordered Legal Notice
       Mitchell, et al. v. Intero Real
                                              Important Notice about a
     Estate Services, Case No. 5:18-
             cv-05623-BLF
                                                Class Action Lawsuit

        Records obtained in this
       lawsuit show that you may
     have received calls promoting
     Intero Real Estate Services at          John Q.
       a telephone number on the             Public 123
     National Do Not Call Registry
                                             Locust St.
      between September 13, 2014
     and December 19, 2019. As a
                                             Anytown, OH 00000-0000
           result, you may be a
     Settlement Class Member of a
      pending class action lawsuit.
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                      Exhibit 3
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To: [Class Member email address]
From: Intero Real Estate Calls Class Action Notice Administrator
Subject: Notice of Class Action Settlement Regarding Intero Real Estate Services
______________________________________________________

       A Court has directed that this Notice be mailed to you. You are not being sued.
              This Notice may affect your legal rights. Please read it carefully.

Records obtained in a pending class action lawsuit titled Mitchell, et al. v. Intero Real Estate
Services, No. 5:18-cv-05623-BLF (N.D. Cal.), indicate that you may have received phone
calls promoting Intero Real Estate Services at a telephone number registered on the
National Do Not Call Registry between September 13, 2014 and December 19, 2019. As a
result, you may be a Settlement Class Member in this case.

What is the lawsuit about? The lawsuit claims that Intero Real Estate Services (“Intero” or
“Defendant”), through its agents, violated the Telephone Consumer Protection Act (“TCPA”) by
calling Plaintiffs and as many as 37,962 others to solicit real estate business at telephone
numbers registered on the National Do Not Call Registry. The TCPA entitles consumers who
prove they received illegal calls to recover money damages and get a court order stopping the
calls. Intero denies that it did anything wrong. The Court has not decided who is right.

A settlement has been proposed to resolve this class action lawsuit. Intero has agreed to pay each
Settlement Class Member who submits a valid Claim $350. You may be a Settlement Class Member if
your telephone number was on the National Do Not Call Registry for at least 31 days, and you
received marketing calls placed through Mojo Dialing Solutions, LLC, by a specific list of real
estate agents promoting Intero’s services between September 13, 2014 and December 19, 2019.
You received this notice because call records indicate you may be a Settlement Class
Member.

                              CLICK HERE TO SUBMIT A CLAIM

How do I make a claim? Your Unique Identification Number is [insert number]. You may make a
Claim for settlement relief by: (1) submitting a Claim online at [insert website]; (2) calling [insert
hotline phone number] and providing information requested by the Settlement Administrator; or (3) if
you received a postcard, filling out, signing and mailing the Claim Form to [insert administrator
address].

The deadline to file a Claim is [insert date]. If you make a Claim, you give up the right to sue separately
for damages.

The Settlement: As part of the settlement, Intero may be required to pay service awards to Class
Representatives who pursued this litigation; pay attorneys’ fees and costs to the lawyers who brought this
lawsuit; and pay Notice and Administration Costs. Plaintiffs will request service awards of up to $5,000
each, and up to $2,775,000 in attorneys’ fees and costs. You may find additional details about the
Settlement at [insert website] or by calling [insert hotline phone number].

Do I have a lawyer? Yes. The Court appointed Tycko & Zavareei LLP, Reese LLP and Bailey &
Glasser, LLP as counsel for the Settlement Class, to be paid by Intero. Or you may appear through an
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attorney at your own expense.

What are your other options? If you do not want to be legally bound by the Settlement, you must
exclude yourself by [insert date]. If you do not exclude yourself, you will release any claims you may
have, as more fully described in the Settlement Agreement, available at the Settlement Website. You
may remain a Settlement Class Member and object to the Settlement by [insert date]. The website
explains how to exclude yourself or object.

Final Approval Hearing. The Court has scheduled a hearing for [insert date] at [insert time] in
Courtroom 3 of the U.S. District Court for the Northern District of California, San Jose Division. At that
time, it will decide whether to give Final Approval to the Settlement. The hearing may be changed
without notice. It is not necessary for you to appear at this hearing, but you may attend at your own
expense.

More information is available at [insert website] or by calling toll-free insert hotline phone
number.
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                      Exhibit 4
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                  IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
            Mitchell, et al. v. Intero Real Estate Services, No. 5:18-cv-05623-BLF (N.D. Cal.)

       If you received phone calls promoting Intero Real
      Estate Services at a telephone number registered on
     the National Do Not Call Registry between September
     13, 2014 and December 19, 2019, you may be entitled
           to benefits under a class action settlement.
                            A court authorized this notice. This is not a solicitation.
•   The lawsuit claims that Intero Real Estate Services (“Intero” or “Defendant”), through its agents,
    violated the Telephone Consumer Protection Act (“TCPA”) by calling Plaintiffs and as many as 37,962
    others to solicit real estate business at telephone numbers registered on the National Do Not Call
    Registry. The TCPA entitles consumers who prove they received illegal calls to recover money damages
    and get a court order stopping the calls. Intero denies that it did anything wrong. The Court has not
    decided who is right.
•   If the Court approves the parties’ settlement, Intero has agreed to pay each Settlement Class Member who
    submits a valid Claim $350. You may be a Settlement Class Member if your telephone number was on the
    National Do Not Call Registry for at least 31 days, and you received marketing calls placed through
    Mojo Dialing Solutions, LLC, by a specific list of real estate agents promoting Intero’s services between
    September 13, 2014 and December 19, 2019.
•   If the Court approves the parties’ settlement, Intero may be required to pay service awards to Class
    Representatives who pursued this litigation; pay attorneys’ fees and costs to the lawyers who brought this
    lawsuit; and pay Notice and Administration Costs. Plaintiffs will request service awards of up to $5,000 each,
    and up to $2,775,000 in attorneys’ fees and costs. These payments will not reduce the amount of relief
    available to Settlement Class Members.

                                          YOUR LEGAL RIGHTS AND OPTIONS

                               This is the only way to get money as part of this Settlement. You may make
                               a Claim for settlement relief by: (1) submitting a Claim online at [insert website];
     SUBMIT A CLAIM BY:        (2) calling [insert hotline phone number] and providing information requested
     ____________              by the Settlement Administrator; or (3) if you received a postcard, filling out,
                               signing and mailing the Claim Form to [insert administrator address].



                               If you are a Settlement Class Member and do nothing, you will not receive
                               any money as part of the Settlement. You also will never be able to sue
     DO NOTHING                Intero separately over the legal claims in this lawsuit and will be bound by
                               any judgment.




                        QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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     ASK TO BE EXCLUDED                If you are a Settlement Class Member and you request to be excluded from
     FROM THE SETTLEMENT               the Settlement, you won’t be eligible to receive any money, but you will keep
     BY: _______________               any rights to sue Intero separately over the legal claims in this lawsuit.




                                       If you are a Settlement Class Member and you would like to object to the
     OBJECT TO THE                     Settlement, you must submit your objection in writing to the Court. Even
     SETTLEMENT BY:                    if you file a valid and timely objection, you can still submit a claim for
     ______________                    money.



•   Your rights and options are explained in this notice and must be exercised by [DATE]. The Court has
    scheduled a hearing for [insert date] at [insert time] in Courtroom 3 of the U.S. District Court for the
    Northern District of California, San Jose Division. At that time, it will decide whether to give Final Approval
    to the Settlement. The hearing may be changed without notice. It is not necessary for you to appear at this
    hearing, but you may attend at your own expense.

•   Payments will be made on valid and timely claims if the Court approves the Settlement and after any
    appeals are resolved.


                                                 WHAT THIS NOTICE CONTAINS

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                                       BASIC INFORMATION
 1. Why was this notice issued?
The Court (as defined below) has authorized this Notice to let you know about a proposed Settlement
of a class action lawsuit that may affect you. You have legal rights and options that you may exercise,
as explained in this Notice, before the Court decides whether to approve the Settlement. If the Court
approves the Settlement and after any appeals are resolved, an administrator appointed by the Court
will make payments as provided by the Settlement. Because your rights may be affected by this
Settlement, it is important that you read this Notice carefully.
If you received a Notice by email or mail, it is because records obtained in this case indicate that you
may have received phone calls promoting Intero Real Estate Services (“Intero” or “Defendant”) at a
telephone number registered on the National Do Not Call Registry between September 13, 2014 and
December 19, 2019. As a result, you may be a Settlement Class Member.
Judge Beth Labson Freeman of the United States District Court for the Northern District of California
(the “Court”), is currently overseeing the case. The case is known as Mitchell, et al. v. Intero Real
Estate Services, Case No. 5:18-cv-05623-BLF (N.D. Cal.). The persons who sued are called the
Plaintiffs. The company the Plaintiffs are suing, Intero, is called the Defendant.

 2. What is this class action about?
In a class action, a person called the “Class Representative” (in this case, Ruby Mitchell and Edward
J. Kelly) sues on behalf of a group (or groups) of people who have similar claims. Together, the Class
Representatives and others with similar claims are all “Class Members” and are all part of the same
“Class.” One Court resolves the issues for all Class Members, except for those who exclude themselves
from the Class.
The lawsuit claims that Intero Real Estate Services (“Intero” or “Defendant”), through its agents,
violated the Telephone Consumer Protection Act (“TCPA”) by calling Plaintiffs and as many as 37,962
others to solicit real estate business at telephone numbers registered on the National Do Not Call
Registry. The TCPA entitles consumers who prove they received illegal calls to recover money
damages and get a court order stopping the calls. Intero denies that it did anything wrong. The Court
has not decided who is right.

 3. Why is there a settlement?
The Court did not decide in favor of the Class Representatives or Intero. Both sides agreed to a
settlement instead of going to trial. The Class Representatives and their attorneys think the
Settlement is best for all Settlement Class Members.

                                  WHO IS IN THE SETTLEMENT?
 4. How do I know if I am a Settlement Class Member?
The Court has decided that everyone who fits the following description is a Settlement Class Member:
All persons in the United States who: (a) received two or more calls on their residential telephone
number (b) that had a duration of more than zero seconds; (c) initiated by, or on behalf of, a real
estate salesperson at a time when Intero or Intero Referral Services was the salesperson’s responsible
broker (as reflected in the records maintained by the California Department of Real Estate (“DRE”));
(d) promoting the purchase of Intero’s goods or services; (e) placed through the dialing platform
provided by Mojo Dialing Solutions, Inc, the call records for which appear in one of 35 account files,
identified in Appendix A to the Court’s order granting class certification in the Litigation; (f) within a

                   QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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12-month period; (h) whose telephone number(s) were on the NDNCR for at least 31 days prior to the
calls; and (i) at any time since September 13, 2014.
Note: Only calls made by certain Intero agents using the Mojo dialing service are
included in this case. You may have been called by other Intero agents or by Intero agents who did
not use Mojo to call you; those calls are not part of this class action.
More information about the Settlement Class is available at [insert website] or by calling toll-fee
[insert hotline phone number].

                           WHAT DOES THE SETTLEMENT PROVIDE?
 5. What am I eligible to get?

Intero has agreed to pay each Settlement Class Member who submits a valid Claim $350.

As part of the settlement, if approved by the Court, Intero may be required to pay service awards to Class
Representatives who pursued this litigation; pay attorneys’ fees and costs to the lawyers who brought this
lawsuit; and pay Notice and Administration Costs. Plaintiffs will request service awards of up to $5,000
each, and up to $2,775,000 in attorneys’ fees and costs. These payments will not reduce the amount of
relief available to Settlement Class Members. You may find additional details about the Settlement at
[insert website] or by calling [insert hotline phone number].

                            HOW CAN I GET SETTLEMENT RELIEF?5. What am I eligible t
 6. How do I make a Claim for Settlement Relief?

You may make a Claim for Settlement Relief by: (1) submitting a Claim online at [insert website]; (2) calling
[insert hotline phone number] and providing information requested by the Settlement Administrator; or
(3) if you received a postcard, filling out, signing and mailing the Claim Form to [insert administrator
address].

You will need your Unique Identification Number and the telephone number at which you received
the calls to submit a Claim. You can find your Unique Identification Number on the Postcard Notice
and/or Email Notice you were sent.

                               YOUR RIGHTS AND OTHER OPTIONS
If you are a Settlement Class Member, you must decide whether to stay in the Settlement Class or
whether to exclude yourself by no later than [DATE].

 7. What happens if I do nothing?
If you are a Settlement Class Member and do nothing, you will stay in the Settlement Class. If you
stay in the Settlement Class, you will be bound by the Release in the Settlement. That means that, if the
Settlement is approved, you can’t sue, continue to sue, or be a part of any other lawsuit against Intero and
other released persons that relates to or arises out of calls that were placed through the dialing platform
provided by Mojo Dialing Solutions, Inc., the calling records for which appear in one of 35 accounts,
identified in Appendix A to the Court’s Order Granting Class Certification.

 8. How do I exclude myself from the Settlement?



                   QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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If you exclude yourself from the Settlement Class—sometimes called “opting out” of the Settlement
Class—you won’t get any money from and cannot object to this Settlement. However, you will be able
to separately start your own lawsuit against, or continue to separately sue, Intero for the calls at issue
in this case. If you exclude yourself, you will not be legally bound by the Settlement or the Court’s
judgment in this class action.
To exclude yourself from the Settlement Class, you must send a letter with the following information:
    • Your name and address;
    • The phone number(s) at which you received Intero calls between September 13, 2014 and the
       present;
    • A statement that you wish to be excluded from the Class in Mitchell, et al. v. Intero Real Estate
       Services, Case No. 5:18-cv-05623-BLF (N.D. Cal.); and
    • Your signature.
You must mail your exclusion request postmarked by [DATE], to:
                                  [insert class administrator address]


 9. How do I object to the Settlement?
If you are a Settlement Class Member and do not exclude yourself from the Settlement, you can object
to the Settlement, or any part of it. You can state the reasons you think the Court should not approve
the Settlement, and the Court will consider your reasons.
To object, you must file a written statement with the Court saying that you object to the proposed
Settlement in Mitchell, et al. v. Intero Real Estate Services, Case No. 5:18-cv-05623-BLF (N.D. Cal.).
To be valid, your objection must include: 1) your name, address, and telephone number; 2) the
telephone number at which you received calls on behalf of Intero; 3) if represented by an attorney, the
name, address, and telephone number of the attorney; 4) the basis for your objection to the Settlement;
and 5) a statement of whether you intend to appear at the Final Approval Hearing, either with or
without an attorney. Any documents that you would like the Court to consider must also be attached
to your objection.
Your written objection must be filed no later than: [DATE]. You must mail your objection to:
                                          Clerk of the Court
                                   280 South 1st Street, Room 2112
                                         San Jose, CA 95113

                 THE LAWYERS REPRESENTING THE SETTLEMENT CLASS
 10. Do I have a lawyer in this case?
Yes, if you are a Settlement Class Member. The Court appointed the law firms of Tycko & Zavareei
LLP, Reese LLP, and Bailey & Glasser, LLP to represent all Settlement Class Members in this case.
They are called “Class Counsel.” They are experienced in handling similar class action cases.
You do not need to hire your own lawyer because Class Counsel is working on your behalf. You do not
have to pay Class Counsel out of your own pocket.
You may seek the advice and guidance of your own lawyer, if you wish, at your own expense.
You can contact Class Counsel by filling out a contact form on the Case Website at [WEB ADDRESS]
or by calling 1-xxx-xxx-xxxx.

 11. How will the Class Counsel and Class Representatives be paid?

                   QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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Class Counsel will ask the Court to approve an award attorneys’ fees and costs of up to $2,775,000 to
compensate them for the work they’ve done in connection with this case. Class Counsel will also
request service awards of up to $5,000 each for the Class Representatives, as compensation for their
time and effort. Intero may object to these amounts and the Court may award less. Intero has agreed
to pay Class Counsel’s attorneys’ fees and costs (up to $2,775,000), the service awards (up to $5,000),
and the Notice and Administration Costs, as approved by the Court. These payments will not reduce the
amount of relief available to Settlement Class Members.

                         THE COURT’S FINAL APPROVAL HEARING
 12. When and where will the Court decide whether to approve the Settlement?
The Court will hold a hearing (the Final Approval Hearing) to decide whether to approve the
Settlement. The Final Approval Hearing will be held on [insert date] at [insert time] in Courtroom 3
of the U.S. District Court for the Northern District of California, San Jose Division. The hearing may
be held virtually and may be moved to different date or time without additional notice. You may
check the Settlement Website [insert website], the Court’s PACER website [insert website], or Judge
Freeman’s calendar [insert website] for updates.
At the Final Approval Hearing, the Court will consider whether the Settlement is fair, reasonable, and
adequate, and whether to award Class Counsel attorneys’ fees, costs, and service awards to the Class
Representatives, as described above, and in what amounts. If there are objections to the Settlement,
the Court will consider them. At or after the hearing, the Court will decide whether to approve the
Settlement. We do not know how long it will take the Court to issue its decision.

 13. May I appear and speak at the Final Approval Hearing?
You do not have to come to the Final Approval Hearing. You may attend, however, at your
own expense with or without an attorney. However, any Settlement Class Member who fails to object
to the Settlement in the manner described in Section 9 above will not be permitted to object to any
terms or approval of the Settlement at the Final Approval Hearing, and will not be permitted to appeal
the Court’s decision.
If you filed a timely objection in the manner describe in Section 9 above, you may ask the Court for
permission to speak at the Final Approval Hearing. To do so, you must file a written notice with the
Court of your intention to appear at the Final Approval Hearing. The notice must include: 1) your full
name, address, and telephone number; and 2) copies of any papers, exhibits or other evidence that
you intend to present to the Court in connection with the hearing.
Your written notice of intention to appear must be filed no later than: [DATE]. You must mail your
notice of intention to appear to:
                                         Clerk of the Court
                                  280 South 1st Street, Room 2112
                                        San Jose, CA 95113

                                GETTING MORE INFORMATION
 14. Where can I get more information?
The Settlement Website at [insert website] contains several court documents that provide additional
information about this case, including the Settlement Agreement, the First Amended Class Action
Complaint filed by the Plaintiffs, and Intero’s Answer and Defenses, and the Court’s Order Granting
Preliminary Approval of the Settlement. This website will be updated with the most current
information about the lawsuit as it becomes available.

                  QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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You may also call the Settlement Administrator toll free at [insert hotline] or write to [insert
settlement administrator]
You may call or Class Counsel at 1-xxx-xxx-xxxx, if you have any questions. Before doing so, however,
please read this full Notice carefully.


Intero personnel, Intero agents, and Intero counsel are NOT authorized to discuss this
case with you. Please do NOT call Intero about this case. Please direct all inquiries to
Class Counsel or the Settlement Administrator.

 15. How do I access the Court’s case docket through PACER?

PACER is available to anyone who registers for an account. Sign up for one using the online
registration process, at https://pacer.uscourts.gov/register-account. You will be asked to provide
your name, address, phone number, email address and date of birth. For immediate access to court
records, provide a credit card during registration. If you do not provide a credit card, an activation
code will be sent by U.S. mail to the address you provided on the registration form. Please allow 7-10
business days for mail delivery.

There is no registration fee. However, the Judicial Conference of the United States has established a
fee for access to PACER. Generally, documents cost $0.10 per page, but if your usage is less than $30
in a quarter, fees are waived.

To access the Court’s docket in this case, log in to PACER at https://ecf.cand.uscourts.gov/cgi-
bin/login.pl, using the Login name and password you obtained during the registration process. Once
logged in, click on “Query” at the top of the screen. In the “Case Number” box, type in “5:18-cv-05623”
click “Find this Case,” and then click “Run Query.” Click “Docket Report,” then click “Run Report.”
The Docket Report lists all the docket entries in the case. If you know the date range or the document
number(s) you are interested in, make the appropriate entries in the boxes; this will make the Docket
Report shorter, and therefore less expensive to view. When you view the docket report, you will see
the titles of the documents that have been filed in the case, and you can then click on documents you
would like to access.




                  QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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                      Exhibit 5
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To: [Class Member email address]
From: Intero Real Estate Calls Class Action Notice Administrator
Subject: Notice of Class Action Regarding Intero Real Estate Services
______________________________________________________

       A Court has directed that this Notice be mailed to you. You are not being sued.

On or about December 30, 2020, you received notice of a pending class action lawsuit titled
Chinitz v. Intero Real Estate Services, No. 5:18-cv-05623-BLF (N.D. Cal.), stating that you
may be a member of a class of persons who received phone calls promoting Intero Real
Estate Services at a telephone number registered on the National Do Not Call Registry
between September 13, 2014 and December 19, 2019. A Settlement has been proposed to
resolve this lawsuit. We’re notifying you that, according to records obtained in this
lawsuit, you are not a member of the proposed Settlement Class.

More information is available at [insert website] or by calling toll-free insert hotline phone number.
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                        EXHIBIT B
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                                                Firm Resume
          Jonathan Tycko and Hassan Zavareei founded Tycko & Zavareei LLP in 2002 when they left a
large national firm to form a private public interest law firm. Since then, a wide range of clients have
trusted the firm with their most difficult problems. Those clients include individuals fighting for their
rights, tenants’ associations battling to preserve decent and affordable housing, consumers seeking
redress for unfair business practices, whistleblowers exposing fraud and corruption, and non-profit
entities and businesses facing difficult litigation.
       The firm’s practice focuses on complex litigation, with a particular emphasis on consumer and
other types of class actions, and qui tam and False Claims Act litigation. In its class action practice, the
firm represent consumers who have been victims of corporate wrongdoing. The firm’s attorneys bring
a unique perspective to such litigation because many of them trained at major national defense firms
where they obtained experience representing corporate defendants in such cases. This unique
perspective enables the firm to anticipate and successfully counter the strategies commonly employed
by corporate counsel defending class action litigation. Tycko & Zavareei LLP’s attorneys have
successfully obtained class certification, been appointed class counsel, and obtained approval of class
action settlements with common funds totaling over $500 million.
        Tycko & Zavareei LLP’s sixteen attorneys graduated from some of the nation’s finest law
schools, including Harvard Law School, Columbia Law School, Duke University School of Law, UC
Berkeley School of Law, Georgetown Law, and the University of Michigan Law School. They have
served in prestigious clerkships for federal and state trial and appellate judges and have worked for low-
income clients through competitive public interest fellowships. The firm’s diversity makes it a leader
amongst its peers, and the firm actively and successfully recruits attorneys who are women, people of
color, and LGBTQ. To support its mission of litigating in the public interest, Tycko & Zavareei LLP
offers a unique public interest fellowship for recent law graduates. Tycko & Zavareei LLP’s attorneys
practice in state and federal courts across the nation.

                                          Representative Cases
Vergara v. Uber Technologies, Inc. , No. 1:15-cv-06972 (N.D. Ill.). Tycko & Zavareei LLP served as Co-Lead
Counsel in this case under the Telephone Consumer Protection Act, in which he obtained a class settlement of $20
million.
In re Fifth Third Early Access Cash Advance Litigation , No. 1:12-cv-00851 (S.D. Ohio). Tycko & Zavareei
LLP was appointed Co-Lead Counsel in these consolidated payday lending cases, which are in discovery after a
successful appeal before the Sixth Circuit.
Farrell v. Bank of America, N.A. , No. 16-cv-000492 (S.D. Cal.). As Co-Lead Counsel, Tycko & Zavareei LLP
obtained a settlement valued at $66.6 million plus injunctive relief valued at $1.2 billion.
In re TD Bank, N.A. Debit Card Overdraft Fee Litigation , No. 15-mn-02613 (D.S.C.). Tycko & Zavareei
LLP serves on the Plaintiffs Executive Committee in this case challenging TD Bank’s overdraft fee practices. Tycko
& Zavareei LLP assisted in obtaining a $70 million class settlement.
In re Higher One Account Marketing & Sales Practices Litigation , No. 12-md-02407 (D. Conn.). As Lead
Counsel, Tycko & Zavareei LLP helped secure a $15 million common fund settlement with significant changes to
business practices for illegal debit card fees.




 Tycko & Zavareei LLP             Tycko & Zavareei LLP             Tycko & Zavareei LLP
 1828 L St. NW Suite 1000         1970 Broadway Suite 1070         10880 Wilshire Blvd., Suite 1101
 Washington, DC 20036             Oakland, CA 94612                Los Angeles, CA 90024
 202.973.0900                     510.254.6808                     510.254.6808
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Duval v. Citizens Financial Group, Inc. , No. 10-cv-21080 (S.D. Fla.). Tycko & Zavareei LLP was appointed
Class Counsel and obtained a common fund settlement of $137.5 million.
In re American Psychological Association Assessment Fee Litigation , No. 10-cv-01780 (D.D.C.). Tycko &
Zavareei LLP served as Co-Lead Counsel in this case challenging the APA’s deceptive fee practices, and achieved a
$9.02 million common fund settlement for the class.
Lloyd v. Navy Federal Credit Union , No. 17-cv-1280 (S.D. Cal.). As Co-Lead Counsel, Tycko & Zavareei LLP
helped secure a $24.5 million common fund settlement on behalf of a class of NFCU customers harmed by the
credit union’s overdraft fee practices.
Morgan v. Apple, Inc. , No. 17-cv-5277 (N.D. Cal.), Simmons v. Apple Inc., No. 17CV312251 (Sup. Ct. Ca.,
Santa Clara Cty.). Tycko & Zavareei LLP is currently serving as Lead Counsel in this class action challenging
Apple’s deceptive marketing of Powerbeats headphones and secured a $9.75 million settlement for the class,
which is pending preliminary approval.
Wallace v. Wells Fargo Bank, N.A. , No. 17CV31775 (Sup. Ct. Ca., Santa Clara Cty.). Tycko & Zavareei LLP
serve as Co-Lead Counsel in this case against Wells Fargo’s overdraft fee practices. Tycko & Zavareei LLP recently
moved for preliminary approval of a $10.5 million common fund class settlement.
Roberts v. Capital One Financial Corporation , No. 16-cv-04841 (S.D.N.Y.). As Co-Lead Counsel, Tycko &
Zavareei LLP helped secure a $17 million settlement on behalf of Capital One customers forced to pay excessive
overdraft fees.
Hawkins v. First Tennessee Bank, N.A. , No. CT-0040851-11 (Cir. Ct. Shelby Cty. Tenn.). As Co-Lead
Counsel, Tycko & Zavareei LLP helped obtain a class settlement of $16.75 million on behalf of bank customers
harmed by First Tennessee’s predatory overdraft fees.
Mascaro v. TD Bank, N.A. , No. 10-cv-21117 (S.D. Fla.). Tycko & Zavareei LLP was appointed Class Counsel
and was instrumental in obtaining a $62 million common fund on behalf of the class.
Trombley v. National City Bank , No. 10-cv-00232 (D.D.C.). Tycko & Zavareei LLP served as Lead Counsel
and obtained a $12 million common fund settlement on behalf of a class of consumers.
Taulava v. Bank of Hawaii , No. 11-1-0337-02 (Cir. Ct. of 1st Cir., Haw.). As Co-Lead Counsel, Tycko &
Zavareei LLP obtained a $9 million common fund for a class of customers who were harmed by Bank of Hawaii’s
overdraft fee practices.
Bodnar v. Bank of America, N.A. , No. 14-cv-3224 (E.D. Pa.). Tycko & Zavareei LLP served as lead Counsel
and obtained a $27.5 million class settlement and significant injunctive relief.
Lambert v. Navy Federal Credit Union , No. 19-cv-00103 (E.D. Va.). Tycko & Zavareei LLP was appointed
Class Counsel and helped secure a $16 million settlement on behalf of members of Navy Federal Credit Union who
were harmed by the credit union’s practice of assessing a second or third NSF Fee upon re-presentment of debit
items or checks.
Hamm v. Sharp Electronics Corp. , No. 19-cv-488 (M.D. Fla.). Tycko & Zavareei LLP was appointed Co-Lead
Counsel and was instrumental in providing relief valued at $109 million for class members exposed to a product
defect in certain Sharp Microwave Drawer Ovens.
Gibbs v. TCV V, LP & Gibbs v. Rees , Nos. 19-cv-789 & 20-cv-717 (E.D. Va.). Tycko & Zavareei LLP was
named class counsel in one of, if not, the largest unlawful tribal payday lending schemes. Thus far, class counsel has
been able to obtain a settlement fund over $60 million as well as the cancellation of $380 million in loans.




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  Hassan A. Zavareei
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  Mr. Zavareei has devoted the last eighteen years to recovering hundreds
  of millions of dollars on behalf of consumers and workers. He has served              Education
  in leadership roles in dozens of class action cases and has been appointed            UC Berkeley School of Law, 1995
  Class Counsel on behalf of numerous litigation and settlement classes. An             Order of the Coif
  accomplished and experienced attorney, Mr. Zavareei has litigated in state            Duke University, 1990
  and federal courts across the nation in a wide range of practice areas; tried         cum laude
  several cases to verdict; and successfully argued numerous appeals,
  including in the D.C. Circuit, the Fourth Circuit, and the Fifth Circuit.
                                                                                        Bar Admissions
  After graduating from UC Berkeley School of Law, Mr. Zavareei joined
                                                                                        California
  the Washington, D.C. office of Gibson, Dunn & Crutcher LLP. There, he
                                                                                        District of Columbia
  managed the defense of a nationwide class action brought against a major              Maryland
  insurance carrier, along with other complex civil matters. In 2002, Mr.               Supreme Court of the United States
  Zavareei founded Tycko & Zavareei LLP with his partner Jonathan Tycko.
  Mr. Zavareei has served as lead counsel or co-counsel in dozens of class              Memberships
  actions involving deceptive business practices, defective products, and/or
                                                                                        Public Justice, Board Member
  privacy. He has been appointed to leadership roles in multiple cases. As
  Lead Counsel in an MDL against a financial services company that                      American Association for Justice
  provided predatory debit cards to college students, Mr. Zavareei
  spearheaded a fifteen-million-dollar recovery for class members. He is                Awards
  currently serving as Co-Lead Counsel in consolidated proceedings against              Washington Lawyers Committee,
  Fifth Third Bank, and on the Plaintiffs’ Executive Committee in MDL                   Outstanding Achievement Award
  litigation against TD Bank. As Co-Lead Counsel in Farrell v. Bank of
  America, a case challenging Bank of America’s punitive overdraft fees, Mr.            Super Lawyer
  Zavareei secured a class settlement valued at $66.6 million in cash and debt          Lawdragon 500
  relief, together with injunctive relief forcing the bank to change a practice
  that will save millions of low-income consumers approximately $1.2 billion            Presentations & Publications
  in overdraft fees. In his Order granting final approval, Judge Lorenz of the          Witness Before the Subcommittee on
  U.S. District Court for the Southern District of California described the             the Constitution and Civil Justice,
  outcome as a “remarkable” accomplishment achieved through “tenacity                   115th Congress
  and great skill.”
                                                                                        Witness Before the Civil Rules
                                                                                        Advisory Committee, 2018, 2019
                                                                                        Editor, Duke Law School Center for
                                                                                        Judicial Studies, Guidance on New
                                                                                        Rule 23 Class Action Settlement
                                                                                        Provisions



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  Jonathan Tycko
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  In his 25 years of practice, Jonathan Tycko has represented a wide range
  of clients, including individuals, Fortune 500 companies, privately-held              Education
  business, and non-profit associations, in both trial and appellate courts             Columbia University Law School,
  around the country. Although he continues to handle a variety of cases,               1992
  his current practice is focused primarily on helping whistleblowers expose
  fraud and corruption through qui tam litigation under the False Claims Act            The Johns Hopkins University, 1989,
  and other similar whistleblower statutes. Mr. Tycko’s whistleblower                   with honors
  clients have brought to light hundreds of millions of dollars in fraud in
  cases involving healthcare, government contracts, customs and import                  Bar Admissions
  duties, banking and tax.
                                                                                        District of Columbia
  Prior to founding Tycko & Zavareei LLP in 2002, Mr. Tycko was with                    Maryland
  Gibson, Dunn & Crutcher LLP, one of the nation’s top law firms. He                    New York
  received his law degree in 1992 from Columbia University Law School,                  Supreme Court of the United States
  and earned a B.A. degree, with honors, in 1989 from The Johns Hopkins
  University. After graduating from law school, Mr. Tycko served for two                Memberships
  years as law clerk to Judge Alexander Harvey, II, of the United States
  District Court for the District of Maryland.                                          American Association for Justice
                                                                                        (AAJ)
  In addition to his private practice, Mr. Tycko is an active participant in
  other law-related and community activities. He currently serves on the                Public Justice
  Conference Committee of the Taxpayers Against Fraud Education Fund,                   Taxpayers Against Fraud Education
  charged with planning the premier annual conference of whistleblower                  Fund (TAFEF)
  attorneys and their counterparts at the United States Department of Justice
  and other government agencies. He has taught as an Adjunct Professor at               Awards
  the George Washington University Law School. He is a former member
  and Chairperson of the Rules of Professional Conduct Review Committee                 Stone Scholar (all three years),
  of the District of Columbia Bar, where he helped draft the ethics rules               Columbia Law School
  governing members of the bar. And Mr. Tycko is a member of the Board                  Thomas E. Dewey Prize for Best
  of Trustees of Studio Theatre, one of the D.C. area’s top non-profit                  Brief, Harlan Fiske Stone Moot Court
  theaters.                                                                             Competition, Columbia Law School
  Mr. Tycko is admitted to practice before the courts of the District of                Award of Litigation Excellence,
  Columbia, Maryland and New York, as well as before numerous federal                   CARECEN-The Central American
  courts, including the Supreme Court, the Circuit Courts for the D.C.                  Resource Center
  Circuit, Third Circuit, Fourth Circuit, Fifth Circuit, Seventh Circuit, Ninth         Super Lawyers, 2012-current
  Circuit, Eleventh Circuit and Federal Circuit, the District Courts for the
                                                                                        Member of the D.C. Bar Leadership
  District of Columbia and District of Maryland, the Southern District of
                                                                                        Academy
  New York, the Northern District of New York, the Western District of
  New York, and the Court of Federal Claims.



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  Andrea R. Gold
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  Andrea Gold has spent her legal career advocating for consumers,
  employees, and whistleblowers. Ms. Gold has litigated numerous complex               Education
  cases, including through trial. Her extensive litigation experience benefits         University of Michigan Law School,
  the firm’s clients in both national class action cases as well as in qui tam         2004
  whistleblower litigation.
                                                                                       University of Michigan, Ross School
  She has served as trial counsel in two lengthy jury trials.                          of Business, 2001
  In her class action practice, Ms. Gold has successfully defended dispositive
  motions, navigated complex discovery, worked closely with leading                    Bar Admissions
  experts, and obtained contested class certification. Her class action cases          District of Columbia
  have involved, amongst other things, unlawful bank fees, product defects,            Illinois
  violations of the Telephone Consumer Protection Act, and deceptive                   Maryland
  advertising and sales practices.
  Ms. Gold also has significant civil rights experience. She has represented           Memberships
  individuals and groups of employees in employment litigation, obtaining              American Association for Justice
  substantial recoveries for employees who have faced discrimination,
  harassment, and other wrongful conduct. In addition, Ms. Gold has                    National Associate of Consumer
                                                                                       Advocates
  appellate experience in both state and federal court.
                                                                                       National Employment Lawyers
  Prior to joining Tycko & Zavareei LLP, Ms. Gold was a Skadden fellow.                Association
  The Skadden Fellowship Foundation was created by Skadden, Arps, Slate,
  Meagher & Flom LLP, one of the nation’s top law firms, to support the                Public Justice
  work of new attorneys at public interest organizations around the country.           Taxpayers Against Fraud Education
                                                                                       Fund
  Ms. Gold earned her law degree from the University of Michigan Law
  School, where she was an associate editor of the Journal of Law Reform,
                                                                                       Awards
  co-President of the Law Students for Reproductive Choice, and a student
  attorney at the Family Law Project clinical program. Ms. Gold graduated              National Trial Lawyers, Top 100 Civil
  with high distinction from the University of Michigan Ross School of                 Plaintiff Lawyers, 2020
  Business in 2001, concentrating her studies in Finance and Marketing.                Super Lawyers, Rising Star
                                                                                       Skadden Fellow, Skadden Arps Slate
                                                                                       Meagher & Flom LLP, 2004-2006




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Anna Haac
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Anna C. Haac is a Partner in Tycko & Zavareei LLP’s Washington,
D.C. office. She focuses her practice on consumer protection class               Education
actions and whistleblower litigation. Her prior experience at                    University of Michigan Law School,
Covington & Burling LLP, one of the nation’s most prestigious                    2006, cum laude
defense-side law firms, gives her a unique advantage when
representing plaintiffs against large companies in complex cases. Since          University of North Carolina at
arriving at Tycko & Zavareei LLP, Ms. Haac has represented                       Chapel Hill, 2002, highest honors
consumers in a wide range of practice areas, including product liability,
false labeling, deceptive and unfair trade practices, and predatory              Bar Admissions
financial practices. Her whistleblower practice involves claims for              District of Columbia
fraud on federal and state governments across an equally broad                   Maryland
spectrum of industries, including health care fraud, customs fraud, and
government contracting fraud.                                                    Memberships
Ms. Haac has helped secure multimillion-dollar relief on behalf of the           Antitrust & Consumer Protection
classes and whistleblowers she represents. Ms. Haac also serves as the           Section of District of Columbia Bar,
D.C. Co-Chair of the National Association of Consumer Advocates                  Co-Chair
and as Co-Chair of the Antitrust and Consumer Law Section Steering               National Association of Consumer
Committee of the D.C. Bar.                                                       Advocates, District of Columbia
                                                                                 Co-Chair
Ms. Haac earned her law degree cum laude from the University of
Michigan Law School in 2006 and went on to clerk for the Honorable               Awards
Catherine C. Blake of the United States District Court for the District
of Maryland. Prior to law school, Ms. Haac graduated with a B.A. in              Super Lawyers, Rising Star, 2015
political science with highest distinction from the Honors Program at
the University of North Carolina at Chapel Hill.                                 Presentations & Publications

Ms. Haac is a member of the District of Columbia and Maryland state              Discussion Leader, “Practical Ideas
bars. She is also admitted to the United States Court of Appeals for             about Properly Framing the Issues
the Second, Third, and Fourth Circuits and the United States District            and Educating the Court and Public
Courts for the District of Columbia, District of Maryland, and the               in Filings Responding to Increasing
Eastern District of Michigan, among others.                                      Attacks on Class Action Settlements
                                                                                 and       Fees,”    Invitation-Only
                                                                                 Cambridge Forum on Plaintiffs’
                                                                                 Class Action Litigation (October
                                                                                 2020)



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  Annick M. Persinger
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  Annick M. Persinger leads Tycko & Zavareei LLP’s California office as
  California’s Managing Partner. While at Tycko & Zavareei LLP, Ms.                   Education
  Persinger has dedicated her practice to utilizing California’s prohibitions         University of California Hastings
  against unfair competition and false advertising to advocate for                    College of Law, 2010 Magna Cum
  consumers. Ms. Persinger has taken on financial institutions, companies             Laude, Order of the Coif
  that take advantage of consumers with deceptive advertising, tech                   University of California San Diego,
  companies that disregard user privacy, companies that sell defective                2007 Cum Laude
  products, and mortgage loan servicers. Ms. Persinger also represents
  whistleblowers who expose their employer’s fraudulent practices.
                                                                                      Bar Admissions
  Ms. Persinger graduated magna cum laude as a member of the Order of
  the Coif from the University of California, Hastings College of the Law in          California
  2010. While in law school, Ms. Persinger served as a member of Hastings
  Women’s Law Journal, and authored two published articles. In 2008, Ms.              Memberships
  Persinger received an award for Best Oral Argument in the first year moot           American Association for Justice
  court competition. In 2007, Ms. Persinger graduated cum laude from the
  University of California, San Diego with a B.A. in Sociology, and minors            Plaintiffs’ Food Fraud Litigation,
  in Law & Society and Psychology.                                                    2020 Steering Committee Member
  Following law school, Ms. Persinger worked as a legal research attorney             Public Justice
  for Judge John E. Munter in Complex Litigation at the San Francisco
  Superior Court.                                                                     Awards
  Ms. Persinger served as an elected board member of the Bay Area Lawyers             Super Lawyer, Rising Star 2020
  for Individual Freedom (BALIF) from 2017 to 2019, and as Co-Chair of                UC Hastings, Best Oral Argument 2008
  BALIF from 2018 to 2019. During her term on the BALIF Board of
  Directors, Ms. Persinger advocated for LGBTQI community members
  with intersectional identities, and promoted anti-racism and anti-
  genderism. Ms. Persinger now serves as a Steering Committee member for
  the Cambridge Forum on Plaintiffs’ Food Fraud Litigation.




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  Kristen G. Simplicio
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  Kristen G. Simplicio has devoted her career to representing victims of false
  advertising and corporate fraud. Prior to joining Tycko & Zavareei LLP’s               Education
  D.C. office in 2020, she spent ten years at a boutique class action firm in            American University, Washington
  California. While there, she successfully litigated over a dozen false                 College of Law, 2007 cum laude
  advertising cases against manufacturers of a variety of consumer products,
                                                                                         McGill University, 1999
  including olive oil, flushable wipes, beverages, and chocolate. In
  connection with this work, she helped to obtain millions of dollars in
  refunds to consumers, as well as changed practices.                                    Bar Admissions

  In addition to her product labeling work, Ms. Simplicio has represented                California
  plaintiffs in a wide variety of areas. For example, she was the lead associate         District of Columbia
  on RICO case on behalf of small business owners against 18 defendants
  in the credit card processing industry. In connection with that case, she              Memberships
  obtained a preliminary injunction halting an illegal $10 million debt
  collection scheme, and later, helped to secure refunds and changed                     National Association of Consumer
  practices for the victims. She has also represented victims of other debt              Advocates
  collectors, as well as those harmed by unlawful background and credit                  American Association for Justice
  reporting, including a pro bono matter performed in conjunction with the
  Lawyers’ Committee for Civil Rights of the San Francisco Bay Area. Ms.
  Simplicio also worked on a lawsuit against government agencies, which
  were charging unconstitutional fines and fees in connection with toll
  collection.
  Ms. Simplicio graduated cum laude from American University,
  Washington College of Law in 2007. She holds a bachelor’s degree from
  McGill University. She began her legal career at the United States
  Department of Labor, where she advised on regulations pertaining to
  group health insurance plans. Before and during law school, Ms. Simplicio
  worked for other plaintiffs’ law firms.
  Ms. Simplicio serves as the D.C. Co-Chair of the National Association of
  Consumer Advocates. She is admitted to practice in California and the
  District of Columbia.




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  Sabita J. Soneji
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  In almost 20 years of practice, Sabita J. Soneji has developed extensive
  experience in litigation and legal policy at both the federal and state level and      Education
  a passion for fighting consumer fraud. Now a Partner in Tycko & Zavareei               Georgetown University Law Center,
  LLP’s Oakland office, she focuses on consumer protection class actions and             magna cum laude
  whistleblower litigation. In addition to her success with novel Telephone
  Consumer Protection cases, False Claims Act cases involving insurance                  University of Houston, summa cum
  fraud, and deceptive and false advertising cases, Ms. Soneji serves in                 laude
  leadership on multi-district litigation against Juul, for its manufacture and
  marketing to youth of an addictive nicotine product. Ms. Soneji also                   Bar Admissions
  successfully represents consumers harmed by massive data breaches and by
  corporate practices that collect and monetize user data without consent. She           District of Columbia
  serves as head of the firm’s Privacy and Data Breach Group.                            California
  Ms. Soneji began that work during her time with the United States
  Department of Justice, as Senior Counsel to the Assistant Attorney General.            Memberships
  In that role, she oversaw civil and criminal prosecution of various forms of           American Association for Justice
  financial fraud that arose in the wake of the 2008 recession. For that work,           (AAJ)
  Ms. Soneji partnered with other federal agencies, state attorneys’ general, and
  consumer advocacy groups. Beyond that affirmative work, Ms. Soneji                     Public Justice
  worked to defend various federal programs, including the Affordable Care               Taxpayers Against Fraud Education
  Act in nationwide litigation.                                                          Fund (TAFEF)
  Ms. Soneji has extensive civil litigation experience from her four years with
  international law firm, her work as an Assistant United States Attorney in the         Awards
  Northern District of California, and from serving as Deputy County Counsel
  for Santa Clara County, handling civil litigation on behalf of the County              Attorney General’s Award 2014
  including regulatory, civil rights, and employment matters. She has
  successfully argued motions and conducted trials in both state and federal             Presentations & Publications
  court and negotiated settlements in complex multi-party disputes.
                                                                                         NITA Trial Skills Faculty 2010-
  Early in her career, Ms. Soneji clerked for the Honorable Gladys Kessler on            present
  the United States District Court for the District of Columbia s, during which
  she assisted the judge in overseeing the largest civil case in American history,
  United States v. Phillip Morris, et al., a civil RICO case brought against major
  tobacco manufacturers for fraud in the marketing, sale, and design of
  cigarettes. The opinion in that case paved the way for Congress to authorize
  FDA regulation of cigarettes.
  Ms. Soneji is a graduate of the University of Houston, summa cum laude,
  with degrees in Math and Political Science, and Georgetown University Law
  Center, magna cum laude.



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  Eva Gunasekera
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  Bringing 16 years of complex litigation experience practice, Eva
  Gunasekera, the former Senior Counsel for Health Care Fraud at the                 Education
  United States Department of Justice, is now representing whistleblowers.           J.D., Georgetown University Law
  Ms. Gunasekera has spent the better part of her career enforcing the False         Center, 2004
  Claims Act and the Stark and Anti-Kickback laws.
                                                                                     M.A., Ohio University, 2001
  Highly strategic, Ms. Gunasekera has many notable successes under her              B.A, Ohio University, 2000
  belt, sizeable recoveries under the False Claims Act, and has held
  companies accountable for fraudulent conduct that harmed important                 Bar Admissions
  government programs such as Medicare and Medicaid. With deep health
  care fraud expertise, she has investigated, litigated, and settled cases           District of Columbia
  involving all federal health care programs (Medicare, Medicaid, TRICARE,           Ohio
  FEHB). Ms. Gunasekera is an expert on analyzing complex health care
  data sets, including Medicare and Medicaid payment data and trends, to
                                                                                     Memberships
  identify potentially fraudulent practices. She has enforced anti-fraud laws
  and represented whistleblowers across industries: pharmaceutical                   Taxpayers Against Fraud Education
  manufacturers, health care providers, hospitals, physicians, physician             Fund (TAFEF)
  groups, laboratories, managed care, pharmacies, hospice and nursing home           Federal Bar Association Qui Tam
  providers, financial institutions, government suppliers, automotive, small         Section
  businesses, and defense contractors. Many of her investigations involved
                                                                                     Public Justice
  parallel criminal proceedings and compliance and whistleblower programs
  of health care organizations, including those subjected to Corporate
                                                                                     Presentations & Publications
  Integrity Agreements and oversight by Independent Review
  Organizations, as required by the U.S. Department of Health and Human              “Whistleblower Rewards 101” –
  Services, Office of Inspector General (HHS-OIG).                                   Scottsdale (Arizona) Bar Association
                                                                                     (March 9, 2021)
  After graduating with her Master’s in Public Administration from Ohio
  University, and from Georgetown University Law Center, Ms. Gunasekera              “Should the False Claims Act be
  practiced law at two international law firms. She acted as second chair            Amended to Define Falsity?” -
  during administrative trials and handled complex commercial litigation.            Federal Bar Association, Qui Tam
  Ms. Gunasekera also played a significant role on the team that represented         Section (February 17, 2021)
  the Enron Creditors Recovery Corp in the bankruptcy proceeding,                    Law review article: False Claims Act,
  successfully returning billions of dollars to creditors in the wake of the         the opioid crisis, whistleblowing,
  Enron scandal. Further, Ms. Gunasekera represented clients in pro bono             Emory University Law School,
  matters, including the successful defense of an individual seeking asylum          February 26, 2019
  and as guardian ad litem for three children.




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  Renée Brooker
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  Bringing 30 years of practice, knowledge, and expertise as a former
  prosecutor in a senior leadership position at the United States Department      Education
  of Justice, Renée Brooker is now representing whistleblowers. While at          J.D., Georgetown University Law Center
  the Department of Justice for over two decades, Ms. Brooker was
                                                                                  B.S., Temple University
  responsible for billions of dollars in recoveries under whistleblower laws.
  As an accomplished and experienced attorney, Ms. Brooker has advised
                                                                                  Bar Admissions
  and represented whistleblowers under the False Claims Act (FCA), the
  Anti-Kickback Statute and Stark Law, FIRREA (bank fraud, mail, and wire         District of Columbia
  fraud), the Financial Institutions Anti-Fraud Enforcement Act (FIAFE),          Pennsylvania
  and the Whistleblower Programs of the SEC, the CFTC, and the IRS.
  As Assistant Director within the Civil Division of the United States            Memberships
  Department of Justice, Ms. Brooker was responsible for sizeable
  recoveries and successful judgments under the False Claims Act, FIRREA,         Taxpayers Against Fraud Education Fund
                                                                                  (TAFEF)
  and civil RICO in almost every industry: pharmaceutical, health care,
  defense, financial services, government procurement, small business,            Board Member, Federal Bar Association
  insurance, tobacco products, and higher education.                              Qui Tam Section
  Ms. Brooker received her law degree in 1990 from Georgetown University          National Employment Lawyers Association
  Law Center, and a B.S. degree in 1987 from Temple University. After             (NELA)
  graduating from Georgetown, Ms. Brooker served as a Law Clerk to Judge
  Noël Kramer in the District of Columbia for one year before joining the         Awards
  United States Department of Education as an attorney. Ms. Brooker was           Department of Justice Commendation
  hired as part of the enforcement response to Congressional investigations       Award for recovering billions of dollars
  of fraud in federal student aid programs affecting consumers and                under the Big Lender Initiative, 2016
  taxpayers. Prior to joining Tycko & Zavareei LLP in 2020, Ms. Brooker           Council of the Inspectors General on
  worked at another prominent whistleblower firm where she advised and            Integrity and Efficiency Award for
  represented whistleblowers while expanding the firm’s whistleblower             Excellence for $1.2 billion False Claims Act
  practice. Ms. Brooker also served as a member of the United States              settlement with Wells Fargo, 2016
  Department of Justice-appointed Independent Corporate Compliance
                                                                                  Department of Justice Award for “a record
  Monitor and Auditor for Volkswagen under its Plea Agreement and
                                                                                  of outstanding actions and
  Consent Decree with the United States Department of Justice.                    accomplishments,” 2015
                                                                                  Attorney General’s Award for Fraud
                                                                                  Prevention, 2011
                                                                                  Department of Justice Award for
                                                                                  prosecuting Big Tobacco under RICO,
                                                                                  2005




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   David W. Lawler
   Of Counsel
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   Mr. Lawler joined Tycko & Zavareei LLP in January 2012. He has
   over twenty years of commercial litigation experience, including an                   Education
   expertise in eDiscovery and complex case management. At the firm                      Creighton University School of
   Mr. Lawler has represented consumers in a numerous practice areas,                    Law, 1997
   including product liability, false labeling, deceptive and unfair trade               University of California, Berkeley
   practices, and antitrust class actions litigation.                                    School of Law, 1989
   Before joining Tycko & Zavareei LLP, Mr. Lawler was an associate
   in the litigation departments at McKenna & Cuneo LLP and Swidler                      Bar Admissions
   Berlin Shereff Friedman LLP.                                                          District of Columbia

   Among Mr. Lawler’s career achievements include the co-drafting of                     Memberships
   appellate briefs which resulted in rare reversal and entry of judgment
                                                                                         American Association for Justice
   in favor of client, US Court of Appeals for the Fourth Circuit.
                                                                                         Public Justice
   Mr. Lawler is a member of the District of Columbia Bar, as well as
   numerous federal courts.



Representative Cases
In re Generic Pharmaceuticals Pricing Antitrust Litigation, MDL No. 2724 (E.D. Penn.) (complex price-fixing action)

Morgan v. Apple, Inc., Case No. 4:17-cv-5277(N.D. Cal.) (multimillion-dollar case alleging defects in high-end Powerbeats
headphone)

In re Automotive Parts Antitrust Litigation, Master File No. 12-md-02311 (E.D. Mich.) (described by the Department of
Justice as the largest antitrust case in history, recovering over $1.2 billion for classes)




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  Victoria Hoekstra
  Staff Attorney
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  Victoria Hoekstra is highly skilled in e-Discovery. She was hired by Tycko
  & Zavareei LLP in 2018 to help with a custom’s fraud case and later became                Education
  a staff attorney. Currently she is working on a class action against Juul for             University of California, Berkeley
  marketing e-cigarettes to youth.                                                          School of Law, J.D., 1988
  Victoria began her legal career at Paul, Hastings in Los Angeles. She moved               University of California Los Angeles
  to a small law firm and later became in-house counsel at an art store where               College of Law, B.S. Economics, 1982
  she also ran an art education program. Victoria worked on many matters in
  these positions including business transactions, intellectual property rights             Bar Admissions
  and litigation involving accountant’s malpractice, deceptive business
                                                                                            California
  practices, securities fraud and Elder Abuse.
  In recent time, Victoria has worked on many e-Discovery projects related to               Memberships
  large scale litigation and regulatory reviews by the DOJ, FTC, SEC, FDA and
  the DEA. Projects have involved breach of contract, personal injury,                      Public Justice
  antitrust investigations (mergers and anti-competitive violations), anti-                 CPA, California Public Accountancy
  kickback violations, intellectual property, stock transactions, breaches of
  fiduciary duty and general fraud including fraudulent marketing related to the
  sale of opioids. Industries include pharmaceuticals, healthcare, ride-sharing
  platforms, telecommunications, retail, manufacturing, education, publishing,
  digital advertising, software development and implementation, data
  contracts, banking, insurance and government contracts. Victoria has also
  worked on compliance projects related to reviews by the DOJ and she had a
  long-term project answering search warrants, court orders and subpoenas
  related to Google products. In this capacity, Victoria helped law
  enforcement investigate critical crimes, but was also attentive to privacy laws.
  Victoria is a Certified Public Accountant and prior to law school she worked
  as an auditor for a large CPA firm. Victoria was also a sole proprietor of an
  Internet bookstore for many years.
  Victoria received a B.S. in Economics from University of California, Los
  Angeles. She received her Juris Doctorate from the University of California,
  Berkeley School of Law and she attended Oxford University (Christ Church)
  in England as a visiting scholar studying Philosophy.



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  Mark A. Clifford
  Associate
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  Mr. Clifford zealously represents plaintiffs in class action litigation
  challenging corporate greed and practices that place profits over people.                Education
  He is actively litigating cases against financial institutions, big tobacco, and         Georgetown University Law Center,
  the insurance industry over fraudulent, unfair, and unlawful conduct that                2015 magna cum laude
  has harmed millions of consumers. He also is litigating a number of data
                                                                                           University of Georgia, 2009
  breach cases, in which the personal information of millions of innocent
  victims was stolen due to the lax security practices of major corporations.
                                                                                           Bar Admissions
  In addition to his consumer protection practice, Mr. Clifford represents
  whistleblowers who come forward with information about fraud on                          District of Columbia
  government programs.                                                                     Maryland
  Prior to joining Tycko & Zavareei LLP in 2019, Mr. Clifford was an                       Memberships
  Associate in the Washington, D.C. office of Covington & Burling LLP,
  one of the nation’s top defense-side firms. He uses his knowledge of how                 American Constitution Society
  the other side operates to advance the interests of clients harmed by                    LGBT Bar Association of the District
  corporate wrongdoing. During his time at Covington, Mr. Clifford                         of Columbia
  represented corporations in complex litigation and government
                                                                                           Public Justice
  investigations, including matters involving whistleblower allegations in the
  healthcare and technology industries. He also maintained an active pro bono
  practice, representing indigent defendants in immigration and criminal                   Awards
  matters.                                                                                 Medina S. and John M. Vasily
                                                                                           Endowed Scholarship (GULC)
  Mr. Clifford graduated magna cum laude from Georgetown University Law                    Law Center Scholar (GULC)
  Center in 2015. While in law school, he was an Executive Editor of the
  Georgetown Law Journal. Following law school, Mr. Clifford clerked for                   CALI Award – Contracts (GULC)
  the Honorable Catherine C. Blake of the United States District Court for
  the District of Maryland. Prior to law school, he worked on several                      Presentations & Publications
  political campaigns following his graduation with honors from the
  University of Georgia in 2009 with a Bachelor of Arts in International                   Georgetown Law Journal, Executive
  Affairs and a Master of Public Administration.                                           Editor (2014 – 2015)
                                                                                           Co-Author, “The LGBT
  Mr. Clifford is admitted to practice law in the District of Columbia,                    Community” in Divide, Develop, and
  Maryland, the United States District Court for the District of Maryland,                 Rule: Human Rights Violations in
  and the United States Court of Appeals for the Fourth Circuit.                           Ethiopia, UW College of Law (2018)




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  Mallory Morales
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  Mallory Morales graduated magna cum laude from Boston University in
  2013, with a degree in Anthropology and Religion. After graduation she              Education
  worked at the Massachusetts Attorney General’s Office as a mediator for             University of California, Berkeley
  its consumer advocacy division, and then as a paralegal in the division of          School of Law, 2018
  open government.
                                                                                      Boston University, 2013, magna cum
  She earned her law degree from the University of California, Berkeley               laude
  School of Law in 2018, where she was elected Editor-in-Chief of the
  California Law Review. While in law school Ms. Morales also participated
                                                                                      Bar Admissions
  in La Raza Law Students’ Association, Women of Color Collective, La
  Raza Law Journal, and First Generation Professionals. She interned for              California
  the East Bay Community Law Center and externed for the Honorable
  William H. Alsup on the United State District Court, Northern District of
  California.
  Prior to joining Tycko & Zavareei LLP in 2020, Ms. Morales practiced
  commercial litigation at Morrison & Foerster LLP in San Francisco. She
  maintained a pro bono practice in civil rights litigation and indigent
  criminal defense.
  Ms. Morales is admitted to the State Bar of California and the bars of the
  United States District Courts for the Northern District of California and
  Eastern District of California.




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  Dia Rasinariu
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  Dia Rasinariu graduated cum laude from Harvard Law School in
  2016. While in law school, Ms. Rasinariu served as an Executive Editor of           Education
  the Harvard Law Review. She was also a member of HLS                                Harvard Law School, 2016
  Lambda. Following law school, Ms. Rasinariu clerked for the Honorable               cum laude
  Diana Gribbon Motz on the United States Court of Appeals for the
                                                                                      Cornell University, 2011
  Fourth Circuit. Ms. Rasinariu earned her Bachelor of Arts, with                     with distinction
  distinction, from Cornell University in 2011, with majors in Government
  and in Economics.
                                                                                      Bar Admissions
  Prior to joining Tycko & Zavareei LLP in 2021, Ms. Rasinariu was a
  litigation associate in the Washington, D.C. office of Jones Day. Ms.               Illinois
                                                                                      District of Columbia
  Rasinariu maintained an active pro bono practice, representing clients on
  civil rights, asylum, and domestic violence matters.
                                                                                      Memberships
  Ms. Rasinariu is a member of the District of Columbia and Illinois state
  bars. She is also admitted to practice before the United States District            Public Justice
  Court for the District of Maryland and the United States Courts of Appeals
  for the Fourth and Sixth Circuits.                                                  Awards
                                                                                      Super Lawyers, Rising Star 2020




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  Lauren Kuhlik
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  Prior to joining Tycko & Zavareei in 2021, Lauren Kuhlik was a
  fellow at the National Prison Project of the American Civil Liberties           Education
  Union, where she engaged in litigation and other advocacy to stop               Harvard Law School, 2017 Cum Laude
  unconstitutional and illegal practices by prison and jail                       Harvard T.H. Chan School of Public
  administrators and ICE. She focused on improving conditions of                  Health, M.P.H., 2017
  confinement for pregnant and postpartum people, as well as fighting             Wesleyan University, BA in
  to eliminate the inhumane practice of solitary confinement. During              Philosophy with Honors, 2011
  the COVID-19 crisis, Ms. Kuhlik maintained an extensive habeas
  practice seeking to secure the release of detained individuals with             Bar Admissions
  medical vulnerabilities.                                                        District of Columbia
  Ms. Kuhlik graduated cum laude from Harvard Law School in 2017.                 Virginia (inactive)
  She also received a Masters in Public Health from the Harvard T.H.
                                                                                  Memberships
  Chan School of Public Health in 2017. Following law school, Ms.
  Kuhlik clerked for the Honorable Stephen Glickman of the District               Public Justice
  of Columbia Court of Appeals. She has published articles regarding
  the treatment of pregnant incarcerated people in the Harvard Law                Publications & Presentations
  and Policy Review and the Harvard Civil Rights-Civil Liberties Law              National Abortion Federation Annual
  Review. Ms. Kuhlik has also published about gender and                          Meeting (2021)
  incarceration in USA Today and Ms. Magazine, among others.                      Pregnancy, Systematic Disregard and
                                                                                  Degradation, and Carceral
                                                                                  Institutions, Harvard Law & Policy
                                                                                  Review (2020)
                                                                                  Harvard Law & Policy Review Fall
                                                                                  Symposium (2019)
                                                                                  Society of Family Planning Annual
                                                                                  Meeting (2019)
                                                                                  George Mason University Law
                                                                                  School Civil Rights Law Journal
                                                                                  Symposium (2019)
                                                                                  Pregnancy Behind Bars: The
                                                                                  Constitutional Argument for
                                                                                  Reproductive Healthcare Access in
                                                                                  Prison, Harvard Civil Rights & Civil
                                                                                  Liberties Law Review (2017)



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  Prior to joining Tycko & Zavareei in 2021, Allison W. Parr was an
  associate in the Washington, D.C. office of Mayer Brown LLP,                    Education
  where she represented corporations in complex commercial                        Georgetown University, 2018
  litigation, including cases involving unfair competition and false
  advertising claims. Previously, Ms. Parr was a litigation associate in          John Hopkins University, 2013
  the New York office of Kramer Levin Naftalis & Frankel LLP,                     Dean’s List with High Honors
  where she maintained an active pro bono practice in LGBTQ civil
  rights.                                                                         Bar Admissions
  Ms. Parr graduated from the Georgetown University Law Center in                 New York
  2018, where she served as the Articles and Notes Editor for the                 District of Columbia
  Food and Drug Law Journal. During law school, Ms. Parr externed
  for the Commercial Litigation Branch, Fraud Section of the                      Memberships
  Department of Justice, where she assisted with cases involving                  Public Justice
  allegations of fraud against the government. Ms. Parr received her
  Bachelor of Music from the Peabody Institute of the Johns Hopkins               Presentations & Publications
  University in 2013.                                                             Agribusiness and Antibiotics: A
  Ms. Parr is admitted to practice in New York and the District of                Market-Based Solution, 73 Food &
                                                                                  Drug L.J. 338 (2018)
  Columbia.




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  Glenn Chappell
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  Glenn Chappell is an associate in the Washington, D.C. office. Prior to
  joining Tycko & Zavareei, he was an associate in the Washington, D.C.                Education
  office of Gibson, Dunn & Crutcher LLP, one of the nation’s most                      Duke University School of Law, 2017
  prestigious defense-side firms. During his time at Gibson Dunn, Mr.                  Summa Cum Laude, Order of the Coif
  Chappell represented corporations in complex litigation at the trial and
                                                                                       Saint Leo University, 2011 Cum Laude
  appellate levels, including the United States Supreme Court. He also
  maintained an active pro bono practice that focused on police and
  sentencing reform.                                                                   Bar Admissions

  Mr. Chappell graduated summa cum laude from Duke University School                   District of Columbia
  of Law in 2017, where he served as Managing Editor of the Duke Law                   Virginia
  Journal and Senior Research Editor of the Duke Law & Technology Review.
  While in law school, he dedicated more than 450 hours to pro bono work.
                                                                                       Memberships
  After graduating law school, Mr. Chappell clerked for the Honorable
                                                                                       Order of the Coif
  Gerald Bard Tjoflat of the United States Court of Appeals for the Eleventh
  Circuit and the Honorable Anthony J. Trenga of the United States District            Virginia Equality Bar Association
  Court for the Eastern District of Virginia. Before law school, he worked
                                                                                       American Constitution Society
  as a manager in the manufacturing industry. He graduated with honors
  from Saint Leo University, earning a Bachelor of Arts in Business                    Virginia Bar Association
  Administration.     His legal scholarship has appeared in multiple
  publications, including the Duke Law Journal and the University of Richmond          Publications
  Law Review.
                                                                                       The Historical Case for Constitutional
                                                                                       “Concepts”, 53 UNIVERSITY OF
                                                                                       RICHMOND LAW REVIEW 373 (2019)
                                                                                       Health Care’s Other “Big Deal”: Direct
                                                                                       Primary Care Regulation in Contemporary
                                                                                       American Health Law, 66 DUKE LAW
                                                                                       JOURNAL 1331 (2017)
                                                                                       Seeking Rights, Not Rent: How Litigation
                                                                                       Finance Can Help Break Copyright’s
                                                                                       Precedent Gridlock, 15 DUKE LAW &
                                                                                       TECHNOLOGY REVIEW 269 (2017)




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  Leora N. Friedman
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  Leora Friedman received her J.D. from Georgetown University Law
  Center in 2020.                                                                     Education
                                                                                      Georgetown University Law Center,
  At Georgetown Law, Leora obtained diverse legal experience through                  2020
  experiential courses led by the O’Neill Institute for National and Global           Princeton University, 2014
  Health Law and by the Institute for Constitutional Advocacy and
  Protection. In addition, she authored papers proposing new legal
                                                                                      Bar Admissions
  frameworks for addressing the negative health impacts of electronic
  cigarettes and improving pandemic preparedness through writing-                     District of Columbia
  intensive coursework.
                                                                                      Memberships
  During law school, Leora also served as an intern for the Department of
                                                                                      Public Justice
  Justice’s Office of Vaccine Litigation and its Consumer Protection Branch.
  She was an Executive Editor for the Georgetown Environmental Law                    Executive Editor, Georgetown
  Review, which published her note “Recommending Judicial                             Environmental Law Review, 2019–
  Reconstruction of Title VI to Curb Environmental Racism: A                          2020
  Recklessness-Based Theory of Discriminatory Intent.”
                                                                                      Publications
  Previously, Leora was the Rockefeller Foundation’s Princeton Project 55             Recommending Judicial Reconstruction of
  Fellow from 2014-2015 and, thereafter, aided international health                   Title VI to Curb Environmental Racism: A
  advocacy campaigns at Global Health Strategies.                                     Recklessness-Based Theory of Discriminatory
                                                                                      Intent, 32 GEO. ENV’T L. REV. 421
  She graduated from Princeton University with an A.B. in Politics in 2014.           (2020)




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                                       REESE LLP
Reese LLP represents consumers in a wide array of class action litigation throughout the nation.
The attorneys of Reese LLP are skilled litigators with years of experience in federal and state
courts. Reese LLP is based in New York, New York with offices also in California and
Minnesota.

Recent and current cases litigated by the attorneys of Reese LLP on behalf of consumers include
the following:

Hasemann v. Gerber Products Co., case no. 15-cv-02995-MKB-RER (E.D.N.Y.)(case involving
misrepresentation of health benefits of baby formula in violation of New York consumer
protection laws); Worth v. CVS Pharmacy, Inc., case no. 16-cv-00498 (E.D.N.Y.);
(E.D.N.Y.)(class action for alleged misrepresentations regarding health benefits of dietary
supplement); Roper v. Big Heart Pet Brands, Inc., case no. 19-cv-00406-DAD (E.D. Cal.)(class
action regarding pet food); Ackerman v. The Coca-Cola Co., 09-CV-0395 (JG) (RML)
(E.D.N.Y.)(class action for violation of California and New York’s consumer protection laws
pertaining to health beverages); Rapaport-Hecht v. Seventh Generation, Inc., 14-cv-9087-KMK
(S.D.N.Y.)(class action for violation of California and New York’s consumer protection laws
pertaining to personal care products); Berkson v. GoGo, LLC, 14-cv-1199-JWB-LW
(E.D.N.Y.)(class action regarding improper automatic renewal clauses); Chin v. RCN
Corporation, 08-cv-7349 RJS (S.D.N.Y.)(class action for violation of Virginia’s consumer
protection law by I.S.P. throttling consumers’ use of internet); Bodoin v. Impeccable L.L.C.,
Index. No. 601801/08 (N.Y. Sup. Ct.)(individual action for conspiracy and fraud); Huyer v.
Wells Fargo & Co., 08-CV-507 (S.D. Iowa)(class action for violation of the RICO Act
pertaining to mortgage related fees); Murphy v. DirecTV, Inc., 07-CV-06545 FMC (C.D.
Cal.)(class action for violation of California’s consumer protection laws); Bain v. Silver Point
Capital Partnership LLP, Index No. 114284/06 (N.Y. Sup. Ct.)(individual action for breach of
contract and fraud); Siemers v. Wells Fargo & Co., C-05-4518 WHA (N.D. Cal.)(class action for
violation of § 10(b) of the Securities Exchange Act of 1934 pertaining to improper mutual fund
fees); Dover Capital Ltd. v. Galvex Estonia OU, Index No. 113485/06 (N.Y. Sup. Ct.)(individual
action for breach of contract involving an Eastern European steel company); All-Star Carts and
Vehicles Inc. v. BFI Canada Income Fund, 08-CV-1816 LDW (E.D.N.Y.)(class action for
violation of the Sherman Antitrust Act pertaining to waste hauling services for small businesses
on Long Island); Petlack v. S.C. Johnson & Son, Inc., 08-CV-00820 CNC (E.D.
Wisconsin)(class action for violation of Wisconsin consumer protection law pertaining to
environmental benefits of household cleaning products); Wong v. Alacer Corp., (San Francisco
Superior Court)(class action for violation of California’s consumer protection laws pertaining to
deceptive representations regarding health benefits of dietary supplement’s ability to improve
immune system); Howerton v. Cargill, Inc. (D. Hawaii)(class action for violation of various
consumer protection laws regarding sugar substitute); Yoo v. Wendy’s International, Inc., 07-
CV-04515 FMC (C.D. Cal.)(class action for violation of California’s consumer protection laws
pertaining to adverse health effects of partially hydrogenated oils in popular food products).
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                                 The Attorneys of Reese LLP
Michael R. Reese

Mr. Reese is the founding partner of Reese LLP where he litigates consumer protection and
antitrust cases as class actions and on behalf of individual clients. Prior to entering private
practice in 2000, Mr. Reese served as an assistant district attorney at the Manhattan District
Attorney’s Office where he served as a trial attorney prosecuting violent and white-collar crime.

Achievements by Mr. Reese on behalf of consumers span a wide array of actions. For example,
in Yoo v. Wendy’s International Inc., Mr. Reese was appointed class counsel by the court and
commended on achieving a settlement that eliminated trans-fat from a popular food source. See
Yoo v. Wendy’s Int’l Inc., No. 07-CV-04515-FMC (JCx) (C.D. Cal. 2007) (stating that counsel
“has conducted the litigation and achieved the Settlement with skill, perseverance and diligent
advocacy”). In Chin v. RCN Corporation, Mr. Reese was appointed class counsel and
commended by the court for stopping RCN’s practice of throttling its Internet customers through
adverse network management practices. See Chin v. RCN Corp., No. 08-CV-7349(RJS)(KNF),
2010 WL 3958794, 2010 U.S. Dist. LEXIS 96302 (S.D.N.Y. Sept. 8, 2010) (stating that “class
counsel is qualified, experienced, and able to conduct the litigation”).

Victories by Mr. Reese and his firm include a $6.1 million class action settlement in Howerton v.
Cargill, Inc. (D. Hawaii) for consumers of Truvia branded sweetener; a $6.4 million class action
settlement in the matter of Wong v. Alacer Corp. (S.F. Superior Court) for consumers of
Emergen-C branded dietary supplement; and, a $25 million dollar settlement for mortgagees in
Huyer v. Wells Fargo & Co. (S.D. Iowa).

Mr. Reese and his firm are frequently appointed as co-lead counsel in food related multi-district
litigations, including, but not limited to: In re Vitaminwater Sales and Marketing Practices
Litigation, case no. 11-md-2215-DLI-RML (E.D.N.Y.); In re Frito-Lay N.A. “All-Natural” Sales
& Marketing Litigation, case no. 12-md-02413-RRM-RLM (E.D.N.Y.); and, In re Hill’s Pet
Nutrition, Inc. Dog Food Products Liability Litig., case no. 19-md-2887-JAR-TT (D. Kansas).

Mr. Reese is a frequent lecturer and author on issues of class actions and food law. Mr. Reese
co-hosts an annual two day food law conference with Professor Michael Roberts of UCLA;
presents at the annual conference of the Consumer Brands Association (formerly known as the
Grocery Manufacturers’ Association); presented at Union Internationale des Advocats Annual
Congress in Porto, Portugal. Recent articles on food law and class actions appear in publications
by the American Bar Association and the Union Internationale des Advocats.

Mr. Reese is also the chairperson of the Cambridge Forum Conference on Food Fraud and is also
an executive committee member of the Plaintiffs’ Class Action Roundtable, where he lectures on
an annual basis on issues related to class actions.

Mr. Reese is also an adjunct professor at Brooklyn Law School where he teaches on class actions
as well as food law.

Mr. Reese also is on the advisory boards for the University of California, Los Angeles School of
Law Resnick Center for Food Law and Policy and Wellness in the Schools in New York, New
York.
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Mr. Reese is a member of the state bars of New York and California as well as numerous federal
district and appellate courts. Mr. Reese received his juris doctorate from the University of
Virginia in 1996 and his bachelor’s degree from New College in 1993.

Sue J. Nam

Ms. Nam is based in New York where she focuses on consumer class actions. Ms. Nam also
runs the appellate practice at the firm and has represented clients before the Second and Ninth
Circuits, as well as The Court of Appeals in New York. Ms. Nam also specialized in copyright
law and represents photographers and other visual artists who have had their copyright protected
works infringed.

Prior to joining the firm, Ms. Nam was the General Counsel for NexCen Brands, Inc., a publicly
traded company that owned a portfolio of consumer brands in food, fashion and homeware.

Previously, Ms. Nam was Intellectual Property Counsel and Assistant Corporate Secretary at
Prudential Financial, Inc., and she was an associate specializing in intellectual property and
litigation at the law firms of Brobeck Phleger & Harrison LLP in San Francisco, California and
Gibson Dunn & Crutcher LLP in New York, New York.

Ms. Nam clerked for the Second Circuit prior to joining private practice.

Ms. Nam received her juris doctorate from Yale Law School in 1994. She received a bachelor’s
degree with distinction from Northwestern University in 1991.

Carlos F. Ramirez

Mr. Ramirez is an accomplished trial attorney based in New York, where he focuses his practice
on the litigation of consumer class actions. Prior to entering private practice in 2001, Mr.
Ramirez served as an Assistant District Attorney at the Manhattan District Attorney’s Office
where he served as a trial attorney prosecuting both violent and white-collar crimes.

Previous and current consumer fraud class actions litigated by Mr. Ramirez include Hasemann v.
Gerber Products Co., case no. 15-cv-02995-MKB-RER (E.D.N.Y.)(case involving
misrepresentation of health benefits of baby formula in violation of New York consumer
protection laws); Coe v. General Mills, Inc., No. 15-cv-5112-TEH (N.D. Cal.) (involving false
advertisement claims relating to the Cheerios Protein breakfast cereal); In re Santa Fe Natural
Tobacco Company Marketing & Sales Practices Litigation, 16-md-2695-JB/LF
(D.N.M.)(involving the deceptive marketing of cigarettes as “natural” and “additive free”);
Lamar v. The Coca-Cola Company, et al., No. 17-CA-4801 (D.C. Superior Ct.) (involving the
deceptive marketing of sugar drinks as safe for health); and

Mr. Ramirez is a member of the state bars of New York and New Jersey. He is also a member of
the bars of the U.S. District Courts for the Eastern District of New York and Southern District of
New York. Mr. Ramirez received his juris doctorate from the Fordham University School of Law
in 1997 and his bachelor’s degree from CUNY-Joh Jay College in 1994.
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George V. Granade II

Mr. Granade is a partner at Reese LLP based in Los Angeles, California, where he focuses on
consumer class actions. Cases Mr. Granade has worked on include:

       Barron v. Snyder’s-Lance, Inc., No. 0:13-cv-62496-JAL (S.D. Fla.) (involving
        “Snyder’s,” “Cape Cod,” “EatSmart,” and “Padrinos” brand food products labeled as
        “natural” and allegedly containing genetically-modified organisms and other synthetic
        ingredients);

       In re: Frito-Lay North America, Inc. “All Natural” Litigation, No. 1:12-md-02413-
        RRM-RLM (E.D.N.Y.) (involving “SunChips,” “Tostitos,” and “Bean Dip” products
        labeled as “natural” and allegedly containing genetically-modified organisms); and

       Martin v. Cargill, Inc., No. 0:13-cv-02563-RHK-JJG (D. Minn.) (involving “Truvia”
        sweetener product labeled as “natural” and allegedly containing highly processed
        ingredients).

Mr. Granade received his juris doctorate from New York University School of Law in 2011. He
received a master’s degree from the University of Georgia at Athens in 2005 with distinction and
a bachelor’s degree from the University of Georgia at Athens in 2003, magna cum laude and
with High Honors.

Mr. Granade is a member of the state bars of Georgia, New York, and California. He is also a
member of the bar of the U.S. Courts of Appeals for the Second Circuit and Ninth Circuit, as
well as the bars of the U.S. District Courts for the Eastern District of New York, Southern
District of New York, Western District of New York, Northern District of New York, Southern
District of Illinois, Northern District of Illinois, Northern District of California, Southern District
of California, Central District of California, and Eastern District of California.

Charles D. Moore

Mr. Moore is based in Minneapolis, Minnesota where he focuses on both consumer as well as
employment class actions.

Mr. Moore has worked on a number of high profile class actions at Reese LLP as well as his
prior firm where he worked as co-counsel with Reese LLP on numerous matters. His notable
cases include Marino v. Coach, Inc., Case. No. 1:16-cv-01122-VEC (OTW) (Lead) (S.D.N.Y.)
(involving deceptive reference pricing in the sale of outlet merchandise); Raporport-Hecht v.
Seventh Generation, Inc., Case No. 7:14-cv-09087-KMK (S.D.N.Y.) (involving the deceptive
advertising of household products as “natural”); Gay v. Tom’s of Maine, Inc., Case No. 0:14-cv-
60604-KMM (S.D. Fla.) (involving deceptive advertising of personal care products as “natural”):
Frohberg v. Cumberland Packing Corp., Case No. 1:14-cv-00748-KAM-RLM (E.D.N.Y.)
(involving deceptive advertising of food products as “natural”); Baharenstan v. Venus
Laboratories, Inc. d/b/a Earth Friendly Products, Inc., Case No. 3:15-cv-03578-EDL (N.D. Cal.)
(involving deceptive advertising of household products as “natural”); Sienkaniec v. Uber
Technologies, Inc., Case No. 17-cv-04489-PJS-FLN (D. Minn.) (involving the misclassification
of Uber drivers as independent contractors); Dang v. Samsung Electronics Co., 673 F. App’x 779
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(9th Cir. 2017) (cert denied 138 S. Ct. 203) (rejecting shrink-wrap terms in California for
purposes of arbitration).

Mr. Moore is a member of the state bar of Minnesota. He is also a member of the bar of the U.S.
District Court for the District of Minnesota. Mr. Moore received his juris doctorate from
Hamline University School of Law in 2013, and his bachelor’s degree from the University of
North Dakota in 2007.

Lance N. Stott

Mr. Stott is based in Austin, Texas from where he litigates consumer class actions. Previous and
current consumer fraud class actions litigated by Mr. Stott include Davis v. Toshiba America
Consumer Products for allegedly defective DVD players; Bennight v. Pioneer Electronics (USA)
Inc. et al. for allegedly defective television sets; Spencer v. Pioneer Electronics (USA) Inc. et al.
for allegedly defective DVD players; and, Okland v. Travelocity.com, Inc., for deceptive pricing
for online hotel reservations.

Mr. Stott is a member of the state bar of Texas. Mr. Stott received his juris doctorate from the
University of Texas in 1996 and his bachelor’s degree from New College in 1993.
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                        EXHIBIT D
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            HOME OFFICE:

WEST VIRGINIA
209 Capitol Street
Charleston, WV 25301

        SATELLITE OFFICES:

ALABAMA
3000 Riverchase Galleria, Suite 905
Birmingham, AL 35244

CALIFORNIA
1999 Harrison Street, Suite 660
Oakland, CA 94612

DELAWARE
Red Clay Center at Little Falls
2961 Centerville Road, Suite 302
Wilmington, DE 19808

FLORIDA
360 Central Avenue, Suite 1500
St. Petersburg, FL 33701

IDAHO
800 West Main St., Suite 1460
Boise, ID 83702

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318 W. Adams St., Suite 1606
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IOWA
PO Box 197
Ankeny, IA 50023

MASSACHUSETTS
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Boston, MA 02110

MISSOURI
8012 Bonhomme Avenue, Suite 300
Clayton, MO 63105

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www.baileyglasser.com
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                                Introduction


       Bailey Glasser LLP (“BG”) was founded by Ben Bailey and Brian
                                                                               Accolades include:
Glasser in Charleston, West Virginia in 1999. Since then, the firm has grown
                                                                               National Law Journal – 35
to include over 75 lawyers in 17 offices, including Charleston and             Most Influential Law
                                                                               Firms in America (2020)
Morgantown, West Virginia, as well as Alabama, California, Delaware,
                                                                               Chambers USA (2020) –
Pennsylvania, Florida, Massachusetts, Missouri, New Jersey, New York,          Commercial Litigation –
Texas, Idaho, Iowa, and Washington, D.C.                                       Band 1

       Since its inception, clients have relied on BG to handle their most     Best Law Firms in
                                                                               America - Commercial
challenging and consequential legal issues, regionally and nationwide. The     Litigation and Bet-the-
firm represents plaintiffs and defendants, including individuals, businesses   Company Litigation
                                                                               (2020)
and governments. BG’s corporate practice handles business matters ranging
                                                                               Best Law Firms in
from the negotiation and execution of billions of dollars in commercial        America -Best Law Firms
                                                                               for High Stakes Litigation
transactions, to IPOs, to assisting foreign businesses with investments in
                                                                               (2019)
U.S. assets. Lawyers throughout the country call upon the firm to access
                                                                               Best Lawyers – Lawyer of
BG’s unique blend of resources, trial experience, and expertise. Our           the Year – Criminal
                                                                               Defense: White Collar,
litigation group has a substantial practice in complex multidistrict (“MDL”)
                                                                               Brian Glasser
and class action litigation, with an emphasis on automotive defect, consumer
                                                                               Forbes - Top Corporate
protection, other products liability, and commercial litigation, including     Law Firm (2019)

antitrust matters, which was particularly noted in a recent Chambers &         National Trial Lawyers –
                                                                               Top 100 Trial Lawyers
Partners 2021 accolade.
       BG continues to expand its knowledge and experience in the
complex MDLs and class action litigations, while maintaining numerous
leadership appointments in current and previous litigations.




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                              Bailey Glasser Litigation Capabilities

       Litigation of every kind has been the cornerstone of Bailey
                                                                         In its 2021 USA Guide, Chambers &
Glasser’s success since our inception. We have initiated and              Partners notes that Bailey Glasser
                                                                           has an “impressive team offering
defended billion-dollar actions nationwide in state courts, federal          experience in both defense and
                                                                           plaintiff representation, regularly
courts, and before arbitrators and mediators. Our opposing counsel        handling litigation with significant
                                                                                commercial and political
has included some of the largest law firms in the country and we              implications. Adept in federal
                                                                          bankruptcies and cases concerning
have emerged victorious. We represent the full spectrum of                  the medical, legal, and financial
                                                                           sectors, and has a niche antitrust
business interests and industries, from solo entrepreneurs to multi-     practice. Handles both regional and
                                                                                    national matters.”
national corporations, from coal miners to fashion designers.

       Bailey Glasser’s trial lawyers bring vast experience in

resolving business disputes including antitrust, class actions of

every kind, breach of contract, breach of fiduciary duty, tortious interference, fraud, fraudulent

transfer actions, and numerous other federal and state statutes. And although at Bailey Glasser

“we try cases,” we also recognize that a preferred outcome may be obtained by negotiation or at

an early stage in a lawsuit. Our demonstrated willingness and skill in taking cases to trial gives

our clients an advantage throughout the litigation process.




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                       Electronically-Stored Information Practice Group

                              Another advantage we bring to our litigation practice is our unique
                              Electronically-Stored Information (“ESI”) Group that not only helps
                              our clients drill down into discovery during cases, but also helps
                              control costs. Bailey Glasser’s Electronically Stored Information
                              (ESI) team employs a firm command of evolving best practices,
                              emergent technologies, and established legal principles and rules to
                              ensure that our corporate and individual clients preserve, collect,
and manage ESI, and conduct e-Discovery, with strategic confidence. Katherine Charonko, a
member of this proposed team and the ESI Practice Group Leader, is a thought leader and
pioneer in the field of ESI and is a Certified e-Discovery Specialist (“CEDS”), a globally
recognized credential. She regularly speaks on ESI issues around the country.

       Charonko has been appointed to leadership roles in e-Discovery in three multidistrict
litigations and provides efficient, cost-effective, and detail-oriented support for all significant
BG litigations from beginning to end. Charonko’s practice group evaluates technical and ESI
needs; crafts litigation holds; coordinates custodial interviews; conducts document collections;
implements aggressive preservation management; negotiates and drafts ESI protocols and
protective orders; manages massive discovery libraries; conducts document review; navigates
discovery challenges presented by the European Union’s General Data Protection Regulation
(GDPR) and other privacy regulations; and provides trial support. No modern litigation can
happen well without this function and BG is well situated to handle all e-Discovery issues that
can arise.




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 Representative Telephone Consumer Protection Act (TCPA) Plaintiffs’ Class Action Cases
                                      Include:

Krakauer v. Dish Network. L.L.C., No. 1:14-CV-00333-CCE-JEP (M.D. NC) - Won five-day jury trial
and a treble damages award from the court, resulting in $61.3 million judgment against DISH Network for
thousands of telemarketing calls placed to numbers on the National Do Not Call Registry in violation of
the TCPA; co-led the trial team, and argued the appeal resulting in a complete affirmance by the US Court
of Appeals for the Fourth Circuit. The class, led by class representative Dr. Thomas Krakauer of Bahama,
North Carolina, alleged Dish was liable for more than 51,000 telemarketing calls placed by a defunct DISH
dealer to persons whose telephone numbers were on the National Do Not Call Registry.

In re: Monitronics Int’l, Inc. Telephone Consumer Protection Act Litigation, MDL No. 2493 (N.D.
W. Va.) – The firm served as co-lead MDL counsel which resulted in winning a $28 million TCPA settlement
for nationwide class of consumers who received alarm-system telemarketing calls.

Hankins v. Alarm.com, No. 4:15-cv-06314 (N.D. CA) - The firm successfully represented a class of
consumers in a certified TCPA class action against Alarm.com. Alarm.com agreed to pay $28 million to settle
a TCPA class action, which involved allegations it sent unlawful telemarketing communications to more than
1.2 million consumers. This was one of the largest TCPA class action settlements on record.

Desai v. ADT Security, No. 11 C 1925 (N.D. IL) - Served on a team of lawyers that won one of the largest
ever vicarious-liability TCPA settlements – $15 million for a nationwide class of consumers subjected to
nuisance telemarketing calls.

Mey v. Frontier Communications ADT Security, No. 3:13-cv-01191 (CT) - Obtained an $11 million class
action settlement against Frontier Communications for telephone calls that violated the TCPA by placing
thousands of illegal telemarketing calls. The class, led by class representative by Diana Mey, alleged that calls
commissioned by Frontier and placed to them by Virido on the Five9 predictive dialer pursuant to a contract
between Frontier and Virido using a list of telephone numbers that Frontier provided. The complaint alleged
that the calling practices violated the TCPA's Do Not Call provisions and the statute's prohibition against
autodialed and prerecorded calls to cellphones.




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                                                          Partner
                                                          Brian A. Glasser
                                                          Washington, DC
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                                                          Washington, DC 20007
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                                                          F: 202.463.2103
                                                          bglasser@baileyglasser.com




Brian Glasser, a Rhodes scholar and founding partner of the firm, is an experienced trial lawyer who
represents a diverse array of plaintiffs and defendants throughout the United States. He has tried cases
in 11 different states.

Brian’s practice also regularly includes negotiating and managing the execution of billions of dollars of
business transactions. From time to time, Brian has represented governors, members of Congress, and
high-ranked agency officials in ticklish personal, political, or criminal inquiries, including state and
federal impeachment proceedings.

His exceptional rapport with clients and broad experience over 25 years of practice ensures that clients
repeatedly call upon him to handle their most sensitive legal challenges.

Brian has been featured in a variety of publications throughout his career including:

        •    Yellowstone Club Trustee Offers Bounty to Find Blixseth’s Missing Millions

        •    Objections Overruled – Court is in Session with Legal Powerhouse Brian Glasser

        •    Bailey & Glasser – A Different Kind of Legal Powerhouse

        •    Attorney Charges Into Legal Arena

.
Here are a few examples of Brian's work:

2021

        • Obtained, as co-trial counsel, a verdict on behalf of Ramaco Resources Inc. of approximately
            $32.6 million against Chubb related insurance companies for breach of contract in a denial of
            insurance coverage case. - Verdict Form 343, Verdict Form 348


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.
2020

        • Tried two cases by Zoom in Delaware concerning the interpretation of a shareholder rights
          agreement and a Limited Liability Company Agreement’s restrictions on transfer of units.
        • Obtained a confidential settlement on behalf of more than 120 residents, including many
          who were killed and injured, of an apartment building complex in Maryland that was
          destroyed by a natural gas explosion.

.
2019

        • In the DISH Network case discussed below, the US Court of Appeals for the Fourth Circuit
          upheld the $61.34 million trial verdict.
        • Obtained, as co-trial counsel, an arbitration award of over $10 million for client S&N
          Communications, Inc. against Bechtel Infrastructure Corporation for breach of contract in the
          engineering and construction of a high-speed fiber optic network.
.
2018

        • In the Allegheny Energy case discussed below, the Ohio Court of Appeals upheld the $2
          million trial court judgment.
        • Obtained, as co-trial counsel, an arbitration award of over $1.9 million on behalf of Protech
          Solutions, Inc. against Conduent State & Local Solutions, Inc., for breach of a Strategic
          Alliance for teaming on the design, development and implementation of a custom software
          solution.
        • Resolved damage suits for more than $800 million arising out of events of force majeure,
          alleged lease defaults, and for lost coal, against Hillsboro Energy LLC and Macoupin Energy
          LLC for approximately $190 million, paid over 15 years.
.
2017

        • Obtained, as co-trial counsel, a verdict on behalf of ERISA plan participants of approximately
          $29.7 million against Wilmington Trust for breach of fiduciary duty in the valuation and
          purchase of a defense contractor on behalf of an ESOP plan. Memorandum Opinion
        • Obtained, as lead trial counsel, a verdict on behalf of a class of consumers of approximately
          $20.5 million against DISH Network, Inc., for over 51,000 violations of the Telephone
          Consumer Protection Act for calling numbers protected by the National Do Not Call registry.
          Verdict Sheet The Court then increased the jury award up to $61.34 million because we
          proved willfulness. Memorandum Opinion and Order



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        • Obtained, as lead trial counsel, a verdict for more than $2 million against Allegheny Energy,
          Inc., in a uniform commercial code case over breach of a contract for the sale of goods.
.
2016

        • In the Yellowstone Mountain Club case discussed below, the United States Court of Appeals
          for the Ninth Circuit rejected all defendant Tim Blixseth’s challenges to the verdict and
          reversed the trial court’s reduction to $40 million, reinstating the original fraud judgment for
          more than $286 million.
        • In the Yellowstone Mountain Club BLX case discussed below, the United States Court of
          Appeals for the Ninth Circuit upheld the trial court’s breach of contract judgment for over
          $219 million against Tim Blixseth.
        • In the Sallyport case discussed below, the United States Court of Appeals for the Second
          Circuit upheld the trial court verdict for more than $21 million.
.
2015

        • Lead counsel to Foresight Reserves, L.P., in the sale of a non-controlling 50% interest in its
          subsidiary Foresight Energy L.P. (NYSE: FELP) to Murray Energy Corporation for $1.375 billion.
        • Lead counsel to Kameron Collieries ULC in its acquisition of 100% of the Donkin Project, a
          large undeveloped coal reserve in the Cape Breton region of Nova Scotia, Canada, from
          Glencore Xstrata, a global mining and trading company based out of Barr, Switzerland and
          Morien Resources Corporation, a Canadian royalty company.
.
2014

        • Obtained, as Trustee of the Yellowstone Club Liquidating Trust, judgment against Tim Blixseth
          for $219.8 million for breach of a promissory note contract.
        • Served as counsel to Foresight Reserves, L.P., in the $2.4 billion initial public offering of
          common units of its subsidiary Foresight Energy Partners, L.P. (NYSE: FELP).
          https://www.youtube.com/watch?v=5FnxjsLh7Cg
        • Obtained, as lead trial counsel, a $21.1 million dollar verdict against Sallyport Global
          Holdings, Inc., in a breach of contract valuation case in federal court in New York City.
          Published Decision »
.
2013

        • Counsel to Foresight Energy LLC in connection with its $1.55 billion refinancing, involving a
          bond, term loan and revolver combination.
        • Served as Trustee for the Yellowstone Club Liquidating Trust.


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.
2012

        • Served on the Board of Directors of Tory Burch, LLC as the Chris Burch designee during the
          period of a contentious dispute over investor rights. The case was resolved by agreement.
        • Counsel to the issuer in Foresight Energy LLC's $200 million bolt-on financing.
.
2011

        • Lead counsel defending International Industries Inc. from a $127 million breach of contract
          claim. After five years of litigation, the Court limited the plaintiff's maximum recovery to $2
          million and the case was quickly resolved.
.
2010

        • Co-lead trial counsel in the Yellowstone Mountain Club fraud case in Montana, obtaining a
          $286 million verdict against property developer and former owner Tim Blixseth for fraud. The
          trial court reduced the judgment to $40 million and upon defendant's appeal, we cross-
          appealed.
        • Lead counsel in Foresight Energy, LLC's $690 million refinancing.
.
2009

        • Lead trial counsel in a case of first impression respecting the power of the United States Mine
          Safety and Health Administration to impose ventilation plans on mine operators.
        • Lead counsel for Colt LLC's sale of $255 million in coal reserves.
        • Lead counsel for Macoupin Energy LLC's sale/leaseback of $143.7 million in coal reserves.
.
2008

        • Retained by the Trustee of the Refco Liquidating Trust and obtained a significant confidential
          settlement on his behalf.
        • Served on trial team in major nationwide product liability case that settled prior to trial.
.


2007

        • Lead counsel for Adena Minerals LLC's sale of coal and transportation assets in return for a
          significant percentage of Natural Resource Partners, LP (NYSE: NRP) and a 22% interest in
          NRP's general partner.


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        • Lead counsel for the West Virginia class and coordinating/lead negotiator for multistate class
             in a $62.5 million settlement with H&R Block (NYSE: HRB). The West Virginia share was $32.5
             million.
        • Served as sell-side counsel in a significant private equity investment by Riverstone Holdings,
             LLC, a private equity fund manager, in Foresight Reserves, L.P.

Earlier Matters

        • Co-lead trial counsel for plaintiffs in a mass action under the Surface Coal Mining and
             Reclamation Act obtaining compensation for damage to water wells and homes.
        • Lead trial counsel for the plaintiffs in a mass action of first impression under the Surface Coal
             Mining and Reclamation Act, establishing rights for off-permit damages from dust fall.
        • Served as co-counsel in the Petition and Briefing stage at the United States Supreme Court in
             Buckhannon Board and Care Home, Inc. v. West Virginia Department of Health and Human
             Resources, 532 US 598 (2001).
        • Special Assistant Attorney General for the State of West Virginia in the Mountaintop
             Removal, Cumulative Hydrologic Impact Analysis, and Bonding Litigations from 1999-2003.
             This series of cases involved several injunction hearings and numerous complex federal and
             state issues resulting in fundamental changes in the mining and environmental laws of West
             Virginia and the region.
        • Tried numerous civil and criminal cases to verdict in state and federal court, in arbitration,
             and before state and federal agencies.

Awards & Accolades
Best Lawyers in America, Commercial Litigation and Criminal Defense: White-Collar (2010 - 2020)
Chambers USA, West Virginia: General Commercial (2015 - 2021) and Corporate/Commercial (2018 -
2021)
“Top 100 Trial Lawyers,” National Trial Lawyers
Best Lawyers in America, “Lawyer of the Year Criminal Defense: White Collar,” (2019)
Super Lawyers, West Virginia, General Litigation and Business Litigation (2007 - 2021)

Clerkships
Law Clerk, Hon. M. Blane Michael, US Court of Appeals for the Fourth Circuit (1994 - 1995)

Practice Areas
Appellate Advocacy
Banking & Financial Services
Bankruptcy & Business Reorganization

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Business & Finance
Business Valuation
Catastrophic Personal Injury
Class Actions
Commercial Litigation
Consumer Litigation
Criminal Defense & Internal Investigations
Energy - Mining
Energy - Oil & Gas
Environmental
ERISA, Employee Benefits & Trust Litigation
Insurance Recovery
Life Sciences
MDL Panels
Medical Device & Drugs
Mergers & Acquisitions
Personal Injury & Product Liability
Private & Family Businesses
Product Liability
Telephone Consumer Protection Act (TCPA)

Education
J.D., Harvard Law School, 1994, cum laude
B.A., Oxford University, 1991
B.A., West Virginia University, 1988, summa cum laude, Rhodes Scholar – 1988, Truman Scholar - 1987

Admissions
District of Columbia
West Virginia
US Supreme Court
US Court of Appeals for the First Circuit
US Court of Appeals for the Second Circuit
US Court of Appeals for the Third Circuit
US Court of Appeals for the Fourth Circuit
US Court of Appeals for the Sixth Circuit
US Court of Appeals for the Seventh Circuit


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US Court of Federal Claims
US District Court, Northern District of West Virginia
US District Court, Southern District of West Virginia

Community and Professional Activities
West Virginia State Bar
Hon. John A. Field, Jr., Inn of Court
Permanent Member, Judicial Conference for the US Court of Appeals for the Fourth Circuit




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                                                            Partner
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                                                            Washington, DC 20007
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                                                            F: 202.463.2103
                                                            jbarrett@baileyglasser.com




“It takes skilled counsel to successfully manage an 18,000-plus member class action. It takes a
different set of highly developed skills to successfully achieve a jury verdict…. Class counsel persisted
in a case where the defendant contested nearly every issue. Against this backdrop, Class Counsel
achieved an excellent result on behalf of the class.”


Krakauer v. DISH Network, L.L.C., 2018 WL 6305785, *3 (M.D. N.C., Dec. 3, 2018)


John Barrett is among a handful of lawyers nationally to have won class action, mass action, and
individual plaintiff jury trials in federal and state court, and successfully argued appeals to uphold
verdicts won in those cases. John represents consumers in class action lawsuits brought under federal
telemarketing laws (TCPA), consumer protection statutes, and consumer warranty laws.

John’s creative, trial-focused approach has helped win over $200 million for consumers in class action
litigation. Most recently, John was co-lead trial and lead appellate counsel in a first-of-its-kind TCPA class
action lawsuit resulting in a $61.3 million trial judgment, with complete affirmance on appeal, which
John argued before the Fourth Circuit.

In the last five years, John has led efforts to recover more than $130 million in TCPA class actions; co-led
the team in securing an unprecedented product liability class action settlement against a Brazilian pistol
manufacturer ($30 million in cash, and warranty modifications valued at over $200 million); and served
as special assistant attorney general recovering over $10 million for violations of West Virginia consumer
protection law.

John especially values his relationships with referring co-counsel throughout the country. He also serves
as President of Bailey Glasser.




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Awards & Accolades
Best Lawyers in America, Mass Tort Litigation / Class Actions – Plaintiffs (2020-2022)
Super Lawyers, West Virginia, Class Action/Mass Torts, Consumer Law (2021)

Fellow, West Virginia Bar Foundation (2018)
AV rated by Martindale-Hubbell
Fellow, Litigation Counsel of America (2020, 2021)

Clerkships
Law Clerk, Hon. Charles H. Haden II, Chief US District Court Judge, Southern District of West Virginia
(1996 - 1998)

Government Service / Previous Employment
Executive Director, Common Cause West Virginia (1990 - 1993)

Practice Areas
Appellate Advocacy
Class Actions
Commercial Litigation
Consumer Litigation
Telephone Consumer Protection Act (TCPA)

Education
J.D., Boston University School of Law, 1996, cum laude, Edward F. Hennessey Distinguished Scholar,
Exec. Editor, Public Interest Law Journal, Dean's Scholar in Labor Law
B.A., University of Pennsylvania, 1988

Admissions
West Virginia
Massachusetts
US Supreme Court
US Court of Appeals for the Fourth Circuit
US Court of Appeals for the Sixth Circuit
US Court of Appeals for the Eleventh Circuit
US District Court, Northern District of West Virginia
US District Court, Southern District of West Virginia
US District Court, Eastern District of Michigan
US District Court, Western District of Michigan

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US District Court, Northern District of Illinois
Supreme Court of Appeals of West Virginia

Representative Matters
        • Won five-day jury trial and a treble damages award from the court, resulting in $61.3 million
           judgment against DISH Network for thousands of telemarketing calls placed to numbers on
           the National Do Not Call Registry in violation of the TCPA; co-led the trial team, and argued
           the appeal resulting in a complete affirmance by the US Court of Appeals for the Fourth
           Circuit; case featured in the Wall Street Journal and CBS Evening News
        • Won a $28 million TCPA settlement for nationwide class of consumers who received alarm-
           system telemarketing calls in In re Monitronics; lawsuit featured on NBC’s Today Show;
           served as co-lead MDL counsel
        • Settled TCPA class action for $28 million in Hankins v. Alarm.com for nationwide class
        • Won TCPA class action settlement of $11 million in Mey v. Frontier Communications
        • Won precedent-setting product liability class action against Brazilian pistol manufacturer;
           settlement provided for free exchange of defective pistols for new, nondefective pistols,
           unlimited by any claims period; cash payments of $30 million, and total settlement value of
           $240 million; case featured in Newsweek
        • Won $3.7 million settlement in TCPA class action against Patriot Payment Group and North
           American Bancard
        • Resolved TCPA class action against Venture Data, LLC for $2.1 million
        • Appointed special assistant attorney general in a series of parens patriae actions against
           retail pharmacies, generating more than $10 million; argued and won related appeal in West
           Virginia v. CVS Pharmacy, Inc.
        • Co-led mass action cases to successful jury verdict in a six-week trial for hundreds of West
           Virginia residents against coal companies, alleging novel legal theory that the companies
           violated state mining laws when they destroyed residents’ groundwater supplies

Selected Speaking Engagements
        • "You've Got Your Class Action Verdict - Now What? Getting to Final Judgment and Beyond,"
           Mass Torts Made Perfect, Class Action Track, Las Vegas, October 2019
        • "Class Action Ethics," American Association for Justice (AAJ), 2019 Annual Convention, San
           Diego, July 2019
        • "Ethical Issues Unique to the Consumer Space," Practising Law Institute, 23rd Annual
           Consumer Financial Services Institute, New York (March 2018); Chicago (May 2018); San
           Francisco (June 2018)
        • "Introduction to Raising and Litigating TCPA Claims,” National Consumer Law Center, Fair
           Debt Collections Practices Act Conference, Chicago, March 2018



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        • "Getting to Judgment in TCPA Cases," National Consumer Law Center, Fair Debt Collections
          Practices Act Conference, Chicago, March 2018
        • "Hot Topics in Ethical Class Action Practice," National Consumer Law Center, Class Action
          Symposium, Washington, DC, November 2017
        • "Introduction to TCPA Litigation, Maximizing the Value of Individual TCPA Cases," National
          Consumer Law Center, 26th Annual Consumer Rights Litigation Conference, Washington, DC,
          November 2017
        • "TCPA Litigation," Practising Law Institute, 22nd Annual Consumer Financial Services Institute,
          Chicago, March 2017

Community and Professional Activities
Chair, Development Advisory Group, Legal Aid of West Virginia
Trustee, University of Charleston
Member, Visiting Committee, West Virginia University College of Law
Treasurer, Smith for West Virginia Governor 2020
National Association of Consumer Advocates
West Virginia and American Associations for Justice
Public Justice




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